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                       33-1 Filed in TXSB on 05/04/22
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                 Exhibit 1
             Case
             Case 21-30725
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                           Document 353
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

    In re:                                                  §
                                                            §             CASE NO. 21-30725 (DRJ)
    BRAZOS ELECTRIC POWER                                   §
    COOPERATIVE, INC.                                       §             Chapter 11
                                                            §
              Debtor.1                                      §

                          SCHEDULES OF ASSETS AND LIABILITIES FOR
                         BRAZOS ELECTRIC POWER COOPERATIVE, INC.
                                     CASE NO. 21-30725




1
 The Debtor in this chapter 11 case, along with the last four digits of its federal tax identification number is: Brazos
Electric Power Cooperative, Inc. (4729). Additional information regarding this case may be obtained on the website
of the Debtor’s proposed claims and noticing agent at http://cases.stretto.com/Brazos. The Debtor’s address is 7616
Bagby Avenue, Waco, TX 76712.
                        Case
                         Case21-30725
                              21-04407 Document
                                        Document353
                                                 33-1 Filed
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                                                                                                27

 Fill in this information to identify the case:

 Debtor name: Brazos Electric Power Cooperative, Inc.

 United States Bankruptcy Court for the: Southern District of Texas
                                                                                                      Check if this is an
 Case number: 21-30725
                                                                                                      amended ling


O cial Form 206Sum
Summary of Assets and Liabilities for Non-Individuals

 1. Schedule A/B: Assets - Real and Personal Property (O cial Form 206A/B)
  1a. Real property:                                                                                   $274,907,509.17
          Copy line 88 from Schedule A/B
  1b. Total personal property:                                                                    $3,077,546,905.43
          Copy line 91A from Schedule A/B
  1c. Total of all property:                                                                      $3,352,454,414.60
          Copy line 92 from Schedule A/B


 2. Schedule D: Creditors Who Have Claims Secured by Property (O cial Form 206D)                      $1,815,598,564.07
 Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D

 3. Schedule E/F: Creditors Who Have Unsecured Claims (O cial Form 206E/F)
  3a. Total claim amounts of priority unsecured claims:                                                  $2,903,107.75
          Copy the total claims from Part 1 from line 5a of Schedule E/F
  3b. Total amount of claims of nonpriority amount of unsecured claims:                           $3,243,470,068.64
          Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F


 4. Total Liabilities                                                                                 $5,061,971,740.46
 Lines 2 + 3a + 3b
                            Case
                             Case21-30725
                                  21-04407 Document
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                                                     33-1 Filed
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                                                                      TXSBonon03/31/21
                                                                               01/07/22 Page
                                                                               05/04/22  Page124 of
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   Fill in this information to identify the case:

   Debtor name: Brazos Electric Power Cooperative, Inc.

   United States Bankruptcy Court for the: Southern District of Texas
                                                                                                                                                         Check if this is an
   Case number: 21-30725
                                                                                                                                                         amended ling


 O cial Form 206A/B
 Schedule A/B: Assets — Real and Personal Property 12/15
  Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in which the
  debtor holds rights and powers exercisable for the debtor's own bene t. Also include assets and properties which have no book value, such as fully depreciated assets
  or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired
  Leases (O cial Form 206G).
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s name and case
  number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached, include the amounts from the
  attachment in the total for the pertinent part.
  For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a xed asset schedule or depreciation
  schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct the value of secured
  claims. See the instructions to understand the terms used in this form.

 Part 1:     Cash and Cash Equivalents

1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.

       Yes. Fill in the information below.

  All cash or cash equivalents owned or controlled by the debtor                                                                        Current value of debtor’s interest

 2. Cash on hand

 2.1
                                                                                                                                                                        $0.00

 3. Checking, savings, money market, or nancial brokerage accounts (Identify all)
 Name of institution (bank or brokerage rm)                           Type of account                    Last 4 digits of account #


 3.1
           Bank of America                                                  Business Checking            6398                                                 $23,093,008.76

 3.2
           Bank of America                                                  Business Checking            6406                                                    $998,538.81

 3.3
           Bank of America                                                  Business Checking            6463                                                     $24,967.00

 3.4
           Bank of America                                                  Business Checking            6448                                                    $125,986.61


 3.5
           Bank of America                                                  Business Checking            4106                                                  $2,165,536.67


 3.6
           Bank of America                                                  Business Checking            6414                                                           $3.17

 3.7
           Bank of America                                                  Business Checking            6422                                                           $0.00
Debtor     Brazos Electric Power Cooperative, Inc.__________________________________               Case number (if known) 21-30725________________________________________
           Name
                             Case
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  3.8
            Bank of America                                                 Business Checking            6430                                                     $57,569.7

  3.9
            Bank of America                                                 Business Checking            8282                                                         $0.00


  3.10
            BB&T                                                            Business Checking            2513                                               $10,499,267.96

  3.11
            CFC                                                             Investment Account           TX121                                             $192,556,112.39

  3.12
            Frost                                                           Business Checking            0160                                                         $0.00

  3.13
            MUFG                                                            Money Market                 1262                                                $6,485,355.17

  3.14
            Regions Bank                                                    Money Market                 1708                                                $5,140,332.80

  3.15
            Wells Fargo                                                     Business Checking            1062                                                   $29,541.89


  3.16
            Wells Fargo                                                     Business Checking            9699                                                  $105,015.38

  4. Other cash equivalents (Identify all)
  4.1
                                                                                                                                                                      $0.00

  5. Total of Part 1
  Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                                         $241,281,236.31


  Part 2:     Deposits and prepayments

  6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.

        Yes. Fill in the information below.

                                                                                                                                       Current value of debtor’s interest
  7. Deposits, including security deposits and utility deposits
  Description, including name of holder of deposit


  7.1
            City of Cleburne, TX Utility Deposit                                                                                                               $150,000.00

  7.2
            Homestead Funds - Deferred Comp (457f)                                                                                                             $153,000.95

  7.3
            Drum Deposit                                                                                                                                           $265.00

  7.4
            ERCOT - Collateral                                                                                                                             $330,000,000.00

  7.5
            Gas Cylinder Deposit                                                                                                                                   $300.00

  7.6
            J. Aron - ISDA Collateral                                                                                                                       $12,599,999.00
Debtor     Brazos Electric Power Cooperative, Inc.__________________________________                   Case number (if known) 21-30725________________________________________
           Name
                             Case
                              Case21-30725
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  7.7
            Lower Colorado River Authority - EEI Collateral                                                                                                        $5,100,000.00

  7.8
            Mid-Continent Independent System Operator - Collateral                                                                                                    $50,000.00

  7.9
            Postage Meter Deposit                                                                                                                                       $3,900.00

  7.10
            Regions Corporate Trust                                                                                                                                        $46.00

  7.11
            RUS Cushion of Credit                                                                                                                                $245,003,939.25

  8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
  Description, including name of holder of prepayment


  8.1
            See Attached A/B 8 Exhibit                                                                                                                             $4,874,030.01

  9. Total of Part 2
  Add lines 7 through 8. Copy the total to line 81.
                                                                                                                                                               $597,935,480.21


  Part 3:     Accounts receivable

  10. Does the debtor have any accounts receivable?

        No. Go to Part 4.

        Yes. Fill in the information below.

                                                                                                                                             Current value of debtor’s interest
  11. Accounts receivable
  11a.      90 days old or                            $147,456,542.12      —                                        $0.00   = ........                          $147,456,542.12
            less:
                                     face amount                               doubtful or uncollectible accounts

  11b.      Over 90 days old:                           $7,030,801.33      —                                        $0.00   = ........                            $7,030,801.33
                                     face amount                               doubtful or uncollectible accounts

    * Accounts Receivable excludes Unbilled Receivables in the amount of $2,496,983,574.89 ("Temporary Affordability Adjustment").

  12. Total of Part 3
  Current value on lines 11a + 11b = line 12. Copy the total to line 82.
                                                                                                                                                               $154,487,343.45


  Part 4:     Investments

  13. Does the debtor own any investments?

        No. Go to Part 5.

        Yes. Fill in the information below.
Debtor   Brazos Electric Power Cooperative, Inc.__________________________________               Case number (if known) 21-30725________________________________________
         Name
                           Case
                            Case21-30725
                                 21-04407 Document
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                                                                                           Valuation method used for current         Current value of debtor’s interest
                                                                                           value
  14. Mutual funds or publicly traded stocks not included in Part 1
  Name of fund or stock:


  14.1
                                                                                                                                                                    $0.00

  15. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
  partnership, or joint venture
  Name of entity:                                           % of ownership:


  15.1
            See Attached Schedule A/B 15 Exhibit                                                                                                         $110,579,187.12

  16. Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
  Describe:


  16.1
                                                                                                                                                                    $0.00

  17. Total of Part 4
  Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                                       $110,579,187.12


  Part 5:    Inventory, excluding agriculture assets

  18. Does the debtor own any inventory (excluding agriculture assets)?

     No. Go to Part 6.

     Yes. Fill in the information below.

   General description                                       Date of       Net book value of             Valuation method used       Current value of debtor’s interest
                                                             the last      debtor's interest             for current value
                                                             physical      (Where available)
                                                             inventory
  19. Raw materials
  19.1
            Oil Stock                                                                $3,642,978.33     Cost                                                $3,642,978.33

  19.2
            Gas Stock                                                                $1,058,314.90     Cost                                                $1,058,314.90

  20. Work in progress
  20.1
                                                                                                                                                                    $0.00

  21. Finished goods, including goods held for resale
  21.1
                                                                                                                                                                    $0.00

  22. Other inventory or supplies
  22.1
            See Attached A/B 22 Exhibit                                          $80,738,053.25        Cost                                               $80,738,053.25

  23. Total of Part 5
  Add lines 19 through 22. Copy the total to line 84.
                                                                                                                                                         $85,439,346.48
Debtor     Brazos Electric Power Cooperative, Inc.__________________________________               Case number (if known) 21-30725________________________________________
           Name
                              Case
                               Case21-30725
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  24. Is any of the property listed in Part 5 perishable?

     No

     Yes

  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was led?

         No
                     Book value                                      Valuation method                                       Current value
         Yes

  26. Has any of the property listed in Part 5 been appraised by a professional within the last year?

     No

     Yes

  Part 6:      Farming and shing-related assets (other than titled motor vehicles and land)

  27. Does the debtor own or lease any farming and shing-related assets (other than titled motor vehicles and land)?

     No. Go to Part 7.

     Yes. Fill in the information below.

   General description                                                         Net book value of           Valuation method used        Current value of debtor’s interest
                                                                               debtor's interest           for current value
                                                                               (Where available)
  28. Crops—either planted or harvested
  28.1
                                                                                                                                                                       $0.00

  29. Farm animals Examples: Livestock, poultry, farm-raised sh
  29.1
                                                                                                                                                                       $0.00

  30. Farm machinery and equipment (Other than titled motor vehicles)
  30.1
                                                                                                                                                                       $0.00

  31. Farm and shing supplies, chemicals, and feed
  31.1
                                                                                                                                                                       $0.00

  32. Other farming and shing-related property not already listed in Part 6
  32.1
                                                                                                                                                                       $0.00

  33. Total of Part 6
  Add lines 28 through 32. Copy the total to line 85.
                                                                                                                                                                      $0.00


  34. Is the debtor a member of an agricultural cooperative?

         No

         Yes. Is any of the debtor’s property stored at the cooperative?

                        No

                        Yes

  35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was led?

         No
                   Book value                                      Valuation method                                       Current value
         Yes
Debtor    Brazos Electric Power Cooperative, Inc.__________________________________                Case number (if known) 21-30725________________________________________
          Name
                           Case
                            Case21-30725
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  36. Is a depreciation schedule available for any of the property listed in Part 6?

     No

     Yes

  37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No

     Yes

  Part 7:    O ce furniture, xtures, and equipment; and collectibles

  38. Does the debtor own or lease any o ce furniture, xtures, equipment, or collectibles?

     No. Go to Part 8.

     Yes. Fill in the information below.

   General description                                                        Net book value of            Valuation method used       Current value of debtor’s interest
                                                                              debtor's interest            for current value
                                                                              (Where available)
  39. O ce furniture
  39.1
            CHAIR-SYSTEM OPERATIONS                                                       $1,264.52      Cost Less Straight-Line                                  $1,264.52
                                                                                                         Depreciation

  39.2
            EXTERNAL DEFIBRILLATOR (AED)                                                 $30,342.46      Cost Less Straight-Line                                $30,342.46
                                                                                                         Depreciation

  39.3
            KRUM-BAUHAUS FURNITURE                                                       $23,487.50      Cost Less Straight-Line                                $23,487.50
                                                                                                         Depreciation

  39.4
            OFFICE FURNITURE FOR TRANSMISS                                                $1,572.84      Cost Less Straight-Line                                  $1,572.84
                                                                                                         Depreciation

  39.5
            OFFICE FURNITURE SUITE FOR                                                   $10,383.17      Cost Less Straight-Line                                $10,383.17
                                                                                                         Depreciation

  39.6
            OFFICE FURNITURE-WEATHERFORD                                                 $34,485.21      Cost Less Straight-Line                                $34,485.21
                                                                                                         Depreciation


  39.7
            WACO HQ OFFICE FURNITURE                                                    $790,069.00      Cost Less Straight-Line                               $790,069.00
                                                                                                         Depreciation

  39.8
            WORKSTATION FOR RISK/COMPLIANC                                                $7,813.12      Cost Less Straight-Line                                  $7,813.12
                                                                                                         Depreciation

  40. O ce xtures
  40.1
                                                                                                                                                                      $0.00

  41. O ce equipment, including all computer equipment and communication systems equipment and software
  41.1
            See Attached A/B 41 Exhibit                                                $7,426,409.84                                                         $7,426,409.84
Debtor    Brazos Electric Power Cooperative, Inc.__________________________________                          Case number (if known) 21-30725________________________________________
          Name
                             Case
                             Case 21-30725
                                  21-04407 Document
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                                                    33-1 Filed
                                                    65-1  FiledininTXSB
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  42. Collectibles Examples: Antiques and gurines; paintings, prints, or other artwork; books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card collections; other
  collections, memorabilia, or collectibles

  42.1
                                                                                                                                                                                          $0.00

  43. Total of Part 7
  Add lines 39 through 42. Copy the total to line 86.
                                                                                                                                                                               $8,325,827.66


  44. Is a depreciation schedule available for any of the property listed in Part 7?

     No

     Yes

  45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

     No

     Yes

  Part 8:    Machinery, equipment, and vehicles

  46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.

     Yes. Fill in the information below.

   General description                                                               Net book value of                Valuation method used            Current value of debtor’s interest
   Include year, make, model, and identi cation numbers (i.e., VIN,                  debtor's interest                for current value
   HIN, or N-number)                                                                 (Where available)
  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
  47.1
  See Attached A/B 47 Exhibit                                                                                                                                                   $2,199,441.78

  48. Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors, oating homes, personal watercraft, and shing vessels
  48.1
  See Attached AB 48 Exhibit                                                                                                                                                      $510,973.36

  49. Aircraft and accessories
  49.1
                                                                                                                                                                                          $0.00

  50. Other machinery, xtures, and equipment (excluding farm machinery and equipment)
  50.1
  See Attached A/B 50 Exhibit                                                            $1,876,788,069.06                                                                  $1,876,788,069.06

  51. Total of Part 8.
  Add lines 47 through 50. Copy the total to line 87.
                                                                                                                                                                          $1,879,498,484.20


  52. Is a depreciation schedule available for any of the property listed in Part 8?

     No

     Yes

  53. Has any of the property listed in Part 8 been appraised by a professional within the last year?

     No

     Yes
Debtor    Brazos Electric Power Cooperative, Inc.__________________________________                  Case number (if known) 21-30725________________________________________
          Name
                            Case
                            Case 21-30725
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  Part 9:     Real Property

  54. Does the debtor own or lease any real property?

     No. Go to Part 10.

     Yes. Fill in the information below.

  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
   Description and location of property                         Nature and extent of          Net book value of           Valuation method used        Current value of
   Include street address or other description such as          debtor’s interest in          debtor's interest           for current value            debtor’s interest
   Assessor Parcel Number (APN), and type of property           property                      (Where available)
   (for example, acreage, factory, warehouse,
   apartment or o ce building), if available.

  55.1
             See Attached A/B 55 Exhibit                                                                                                                     $274,907,509.17

  56. Total of Part 9.
  Add the current value of all lines in question 55 and entries from any additional sheets. Copy the total to line 88.
                                                                                                                                                           $274,907,509.17


  57. Is a depreciation schedule available for any of the property listed in Part 9?

     No

     Yes

  58. Has any of the property listed in Part 9 been appraised by a professional within the last year?

     No

     Yes

  Part 10:       Intangibles and intellectual property

  59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.

     Yes. Fill in the information below.

   General description                                                         Net book value of             Valuation method used       Current value of debtor’s interest
                                                                               debtor's interest             for current value
                                                                               (Where available)
  60. Patents, copyrights, trademarks, and trade secrets
  60.1
                                                                                                                                                                           $0.00

  61. Internet domain names and websites
  61.1
             Brazoselectric.com                                                                 $0.00       n/a                                                            $0.00

  62. Licenses, franchises, and royalties
  62.1
                                                                                                                                                                           $0.00

  63. Customer lists, mailing lists, or other compilations
  63.1
                                                                                                                                                                           $0.00

  64. Other intangibles, or intellectual property
  64.1
                                                                                                                                                                           $0.00
Debtor    Brazos Electric Power Cooperative, Inc.__________________________________                 Case number (if known) 21-30725________________________________________
          Name
                            Case
                            Case 21-30725
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  65. Goodwill
  65.1
                                                                                                                                                                       $0.00

  66. Total of Part 10.
  Add lines 60 through 65. Copy the total to line 89.
                                                                                                                                                                      $0.00


  67. Do your lists or records include personally identi able information of customers (as de ned in 11 U.S.C. §§ 101(41A) and 107)?

     No

     Yes

  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?

     No

     Yes

  69. Has any of the property listed in Part 10 been appraised by a professional within the last year?

     No

     Yes

  Part 11:       All other assets

  70. Does the debtor own any other assets that have not yet been reported on this form?
  Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.

     Yes. Fill in the information below.

                                                                                                                                        Current value of debtor’s interest
  71. Notes receivable
  Description (include name of obligor)
  71.1
                                                                                                                         =                                            $0.00
                                                                                       -
                                                total face amount                          doubtful or uncollectible
                                                                                           amount

  72. Tax refunds and unused net operating losses (NOLs)
  Description (for example, federal, state, local)
  72.1
                                                                                                    Tax year                                                           $0.00

  73. Interests in insurance policies or annuities
  73.1
                                                                                                                                                                       $0.00

  74. Causes of action against third parties (whether or not a lawsuit has been led)
  74.1
             Potential claims against ERCOT / PUCT                                                                                     Undetermined
  Nature of Claim                     Force majeure / overbilling related to Black Swan Winter Event

  Amount requested                                                          $Underinvestigation.00

  74.2
             Potential claims against gas suppliers                                                                                    Undetermined
  Nature of Claim                     Overbilling related to Black Swan Winter Event
  Amount requested                                                          $Underinvestigation.00
Debtor     Brazos Electric Power Cooperative, Inc.__________________________________               Case number (if known) 21-30725________________________________________
           Name
                            Case
                            Case 21-30725
                                 21-04407 Document
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  75. Other contingent and unliquidated claims or causes of action of every nature, including counterclaims of the debtor and rights to set off claims
  75.1
                                                                                                                                                                      $0.00
  Nature of Claim

  Amount requested

  76. Trusts, equitable or future interests in property
  76.1
                                                                                                                                                                      $0.00

  77. Other property of any kind not already listed Examples: Season tickets, country club membership
  77.1
                                                                                                                                                                      $0.00

  78. Total of Part 11.
  Add lines 71 through 77. Copy the total to line 90.
                                                                                                                                                                    $0.00


  79. Has any of the property listed in Part 11 been appraised by a professional within the last year?

      No

      Yes

  Part 12:        Summary

    In Part 12 copy all of the totals from the earlier parts of the form.

   Type of property                                                           Current value of              Current value of real
                                                                              personal property             property

  80. Cash, cash equivalents, and nancial assets. Copy line 5, Part 1.            $241,281,236.31


  81. Deposits and prepayments. Copy line 9, Part 2.                              $597,935,480.21

  82. Accounts receivable. Copy line 12, Part 3.                                  $154,487,343.45


  83. Investments. Copy line 17, Part 4.                                          $110,579,187.12


  84. Inventory. Copy line 23, Part 5.                                              $85,439,346.48

  85. Farming and shing-related assets. Copy line 33, Part 6.                                 $0.00


  86. O ce furniture, xtures, and equipment; and collectibles. Copy                    $8,325,827.66
  line 43, Part 7.

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                  $1,879,498,484.20

  88. Real property. Copy line 56, Part 9.                                                                      $274,907,509.17


  89. Intangibles and intellectual property.. Copy line 66, Part 10.                          $0.00

  90. All other assets. Copy line 78, Part 11.                                                $0.00


  91. Total. Add lines 80 through 90 for each column                   91a.                                             91b.
                                                                               $3,077,546,905.43                                               $274,907,509.17


  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.
                                                                                                                                                         $3,352,454,414.60
                           Case
                            Case21-30725
                                 21-04407 Document
                                           Document353
                                                    33-1 Filed
                                                    65-1   FiledininTXSB
                                                                     TXSBonon03/31/21
                                                                              01/07/22 Page
                                                                              05/04/22  Page258
                                                                                             14 of
                                                                                                of 271
                                                                                                   27

  Fill in this information to identify the case:

  Debtor name: Brazos Electric Power Cooperative, Inc.

  United States Bankruptcy Court for the: Southern District of Texas
                                                                                                                                                           Check if this is an
  Case number: 21-30725
                                                                                                                                                           amended ling


O cial Form 206D
Schedule D: Creditors Who Have Claims Secured by Property
Be as complete and accurate as possible.

Part 1:     List Creditors Who Have Claims Secured by Property

1. Do any creditors have claims secured by debtor's property?

      No. Check this box and submit page 1 of this form to the court with debtor`s other schedules. Debtor has nothing else to report on this form.

      Yes. Fill in the information below.

2. List creditors who have secured claims.If a creditor has more than one secured claim, list the creditor   Column A                             Column B
separately for each claim.
                                                                                                             Amount of Claim                      Value of collateral that
                                                                                                             Do not deduct the value of           supports this claim
                                                                                                             collateral.

2.1
                                                        Describe debtor's property that is subject to                  $1,815,598,564.07      Undetermined
              Federal Financing Bank                    the lien:
              U.S Dept. of the Treasury                 Substantially All Assets
              1500 Pennsylvania Ave. NW
              Washington, DC 20220                      Describe the lien
              FFB@treasury.gov                          Substantially All Assets
                                                        Is the creditor an insider or related party?
           Date debt was incurred?
                                                           No
           Various

           Last 4 digits of account number                 Yes
                                                        Is anyone else liable on this claim?
           Do multiple creditors have an interest          No
           in the same property?
                                                           Yes. Fill out Schedule H: Codebtors(O cial
               No
                                                       Form 206H)
               Yes. Specify each creditor, including    As of the petition ling date, the claim is:
          this creditor, and its relative priority.     Check all that apply.
                                                             Contingent

                                                             Unliquidated

                                                             Disputed


3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                               $1,815,598,564.07
Page, if any.
Debtor   Brazos Electric Power Cooperative, Inc.__________________________________               Case number (if known) 21-30725________________________________________
         Name
                         Case
                          Case21-30725
                               21-04407 Document
                                         Document353
                                                  33-1 Filed
                                                  65-1   FiledininTXSB
                                                                   TXSBonon03/31/21
                                                                            01/07/22 Page
                                                                            05/04/22  Page259
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                                                                                              of 271
                                                                                                 27
  Part 2:   List Others to Be Noti ed for a Debt That You Already Listed

  List in alphabetical order any others who must be noti ed for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies, assignees of
  claims listed above, and attorneys for secured creditors.
  If no others need to be noti ed for the debts listed in Part 1, do not ll out or submit this page. If additional pages are needed, copy this page.
   Name and address                                                                        On which line in Part 1 did you enter       Last 4 digits of account number for
                                                                                           the related creditor?                       this entity

  3.1
                           Case
                            Case21-30725
                                 21-04407 Document
                                           Document353
                                                    33-1 Filed
                                                    65-1   FiledininTXSB
                                                                     TXSBonon03/31/21
                                                                              01/07/22 Page
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                                                                                             16 of
                                                                                                of 271
                                                                                                   27

  Fill in this information to identify the case:

  Debtor name: Brazos Electric Power Cooperative, Inc.

  United States Bankruptcy Court for the: Southern District of Texas
                                                                                                                                                               Check if this is an
  Case number: 21-30725
                                                                                                                                                               amended ling


O cial Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims. List
the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and Personal
Property (O cial Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (O cial Form 206G). Number the entries in Parts 1 and 2 in the boxes
on the left. If more space is needed for Part 1 or Part 2, ll out and attach the Additional Page of that Part included in this form.

Part 1:     List All Creditors with PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

      No. Go to Part 2.

      Yes. Go to line 2.

2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors with priority unsecured
claims, ll out and attach the Additional Page of Part 1.

                                                                                                                              Total claim                    Priority amount

2.1
                                                                         As of the petition ling date, the claim is:                                                 $2,903,107.75
              See Attached Schedule E Exhibit                            Check all that apply.
                                                                              Contingent
           Date or dates debt was incurred
                                                                              Unliquidated
           Last 4 digits of account number                                    Disputed
                                                                         Basis for the claim:
           Specify Code subsection of PRIORITY unsecured
           claim:
                                                                         Is the claim subject to offset?
           11 U.S.C. § 507(a) ( )
                                                                             No

                                                                             Yes
Debtor   Brazos Electric Power Cooperative, Inc.__________________________________                        Case number (if known) 21-30725________________________________________
         Name
                               Case
                                Case21-30725
                                     21-04407 Document
                                               Document353
                                                        33-1 Filed
                                                        65-1   FiledininTXSB
                                                                         TXSBonon03/31/21
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                                                                                                       27
  Part 2:   List All Creditors with NONPRIORITY Unsecured Claims

  3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, ll out and attach the
  Additional Page of Part 2.

                                                                                                                                                                 Amount of claim

  3.1
                                                                                              As of the petition ling date, the claim is:                           $3,243,470,068.64
                See Attached Schedule F Exhibit                                               Check all that apply.
                                                                                                   Contingent
            Date or dates debt was incurred
                                                                                                   Unliquidated

                                                                                                   Disputed

                                                                                              Basis for the claim:


                                                                                              Is the claim subject to offset?
                                                                                                  No

                                                                                                  Yes

  Part 3:   List Others to Be Noti ed About Unsecured Claims

  4. List in alphabetical order any others who must be noti ed for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies, assignees of claims
  listed above, and attorneys for unsecured creditors.

  If no others need to be noti ed for the debts listed in Parts 1 and 2, do not ll out or submit this page. If additional pages are needed, copy the next page.
   Name and mailing address                                                                      On which line in Part 1 or Part 2 is the related                Last 4 digits of
                                                                                                 creditor (if any) listed?                                       account number, if any

  4.1
                                                                                                 Line



                                                                                                        Not listed. Explain



  Part 4:   Total Amounts of the Priority and Nonpriority Unsecured Claims

  5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                                                 Total of claim amounts

  5a. Total claims from Part 1                                                                                                           5a.                            $2,903,107.75

  5b. Total claims from Part 2                                                                                                           5b.                        $3,243,470,068.64
  5c. Total of Parts 1 and 2                                                                                                             5c.
                                                                                                                                                                  $3,246,373,176.39
  Lines 5a + 5b = 5c.
                                                                    Case
                                                                     Case21-30725
                                                                          21-04407 Document
                                                                                    Document353
                                                                                             33-1 Filed
                                                                                             65-1   FiledininTXSB
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                                                                                                                                            27                            SCHEDULE E ATTACHMENT
                                                                                                                                                                  Creditors Who Have Priority Unsecured Claims




                                                                                                                                                                                                                                                                                                                                Unliquidated
                                                                                                                                                                                                                                                                                                                   Contingent
                                                                                                                                                                                                                                                                    Specify Code Subsection                                                               Is the Claim




                                                                                                                                                                                                                                                                                                                                               Disputed
                                                                                                                                                                                                                                                                     Of Priority Unsecured                                                                 Subject to
                                                                                                                                                                                                                                                                             Claim:                                                                          Offset?
     ID                 Creditor's Name                         Address 1                                            Address 2                                      Address 3                                    Address 4                City      State    ZIP      11 U.S.C. §507(a)(__)      Basis for Claim                                            (Yes/No)      Total Claim    Priority Amount
     3.1   CORP LEVEL CHARGES                                                              *                                                                                                                                                                                                  PROPERTY TAX            Y Y                                                $ 173,410.26   $      173,410.26
     3.2   DISTR O&M                                                                       *                                                                                                                                                                                                  PROPERTY TAX            Y Y                                                $ 379,548.40   $      379,548.40
     3.3   ERATH CO. TAX ASSESSOR/COLLECTOR      JENNIFER SCHLICKE CAREY                       320 WEST COLLEGE                                                                                                                       STEPHENVILLE TX       76401                             AP                      Y Y                                                $   5,369.24   $         5,369.24
                                                 WISE COUNTY TAX OFFICE, 4040 W. WALNUT,       JACK COUNTY APPRAISAL DISTRICT, P.O BOX 958           JACK COUNTY TAX OFFICE, 100 N. MAIN ST. PARKER COUNTY APPRAISAL DISTRICT, 1108
     3.4   JACK COUNTY PLANT                     DECATUR, TX 76234                             JACKSBORO, TX 76458                                   STE. 109, JACKSBORO, TX 76458           SANTA FE DR., WEATHERFORD, TX 76086                                                              PROPERTY TAX            Y Y                                                $ 923,482.46   $      923,482.46
                                                 JOHNSON COUNTY TAX A/C, PO BOX 75,
     3.5   JOHNSON COUNTY PLANT                  CLEBURNE, TX 76401                                                                                                                                                                                                                           PROPERTY TAX            Y Y                                                $ 133,216.60   $      133,216.60
     3.6   LEON COUNTY TAX ASSESSOR/COLLECTOR    ROBIN SHAFER                                  155 N. CASS, ANNEX 2, 2ND FLOOR                                                                                                        CENTERVILLE   TX      75833                             AP                      Y Y                                                $ 74,858.27    $       74,858.27
                                                 ERATH COUNTY, 320 W. COLLEGE,
     3.7   RWM #4                                STEPHENVILLE, TX 76401                        PALO PINTO COUNTY, PO BOX 160, PALO PINTO, TX 76484                                                                                                                                            PROPERTY TAX            Y Y                                                $ 14,782.94    $       14,782.94
                                                 ERATH COUNTY, 320 W. COLLEGE,
     3.8   RWM #5                                STEPHENVILLE, TX 76401                        PALO PINTO COUNTY, PO BOX 160, PALO PINTO, TX 76484                                                                                                                                            PROPERTY TAX            Y Y                                                $ 14,782.94    $       14,782.94
                                                 ERATH COUNTY, 320 W. COLLEGE,
     3.9 RWM PLANT                               STEPHENVILLE, TX 76401                        PALO PINTO COUNTY, PO BOX 160, PALO PINTO, TX 76484                                                                                                                                            PROPERTY TAX            Y Y                                                $ 26,085.30    $       26,085.30
    3.10 TRANSM O&M LINES                                                                  *                                                                                                                                                                                                  PROPERTY TAX            Y Y                                                $ 699,137.22   $      699,137.22
    3.11 TRANSM O&M SUBS                                                                   *                                                                                                                                                                                                  PROPERTY TAX            Y Y                                                $ 458,434.12   $      458,434.12
                                                                                                                                                                                                                                                                                                                                                                             TOTAL:     $    2,903,107.75




In re: Brazos Electric Power Cooperative, Inc.
Case No. 21-30725                                                                                                                                                                 Page 1 of 1
                                                                     Case
                                                                      Case21-30725
                                                                           21-04407 Document
                                                                                     Document353
                                                                                              33-1 Filed
                                                                                              65-1   FiledininTXSB
                                                                                                               TXSBonon03/31/21
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                                                                                                                                             27                 SCHEDULE F ATTACHMENT
                                                                                                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                                                                                                                                           Unliquidated
                                                                                                                                                                                                                                                                                              Contingent
                                                                                                                                                                                                                                                                                                                                     Is the Claim




                                                                                                                                                                                                                                                                                                                          Disputed
                                                                                                                                                                                                                                                                                                                                      Subject to
                                                                                                                                                                                                                                                                                                                                        Offset?
       ID                                  Creditor's Name                               Address 1                                  Address 2                                         Address 3                  City           State        ZIP                    Basis for Claim                                                    (Yes/No)     Total Claim
       3.1    855 BUGS.COM                                                                                        855 BUGS.COM                                  PO BOX 7514                              WACO              TX           76714        TRADE                                                                                                    $675.00
       3.2    ABB ENTERPRISE SOFTWARE, INC.                                                                       305 GREGSON DRIVE                                                                      CARY              NC           27511        TRADE                                                                                                 $68,184.00
       3.3    ABB INC (CLEVELAND OH) PREV BA                                                                      23000 HARVARD RD                                                                       CLEVELAND         OH           44122        TRADE                                                                                                 $17,708.50
       3.4    ABB INSTRUMENTATION C/O ANDON                                                                       PO BOX 88866                                                                           CHICAGO           IL           60695-1868   TRADE                                                                                                  $2,164.57
       3.5    ABB, INC. C/ODAVIDSON & ASSOC (QUOTES)                    C/O J.H. DAVIDSON & ASSOCIATES INC.       7707 E 111TH STREET SUITE 102                                                          TULSA             OK           74133        TRADE                                                                                                $129,600.00
       3.6    ABM JANITORIAL SERVICES - SOUTH CENTRAL                                                             PO BOX 419860                                                                          BOSTON            MA           02241-9860   TRADE                                                                                                  $3,030.45
       3.7    ACUREN INSPECTION (FRMLY M&M ENG)                                                                   30 MAIN STREET SUITE 402                                                               DANBURY           CT           06810        TRADE                                                                                                 $17,159.25
       3.8    ADAMS, MICHAEL J.                                                                                   ADDRESS REDACTED                                                                                                                   TRADE                                                                                                     $89.16
       3.9    ADVANCED TURBINE SUPPORT, LLC (ATS)                                                                 6280 SW 103RD STEET                                                                    GAINESVILLE       FL           32608        TRADE                                                                                                  $5,414.57
      3.10    AEP TEXAS CENTRAL (FORMERLY CPL)                                                                    PO BOX 371883                                                                          PITTSBURGH        PA           15250-7883   PUCT TCOS PAYABLES                                                                                $1,124,302.70
      3.11    AEP TEXAS NORTH (FORMERLY WTU)                            ATTN: STEVE THOMAS                        4550 S LOOP 322                                                                        ABILENE           TX           79602        PUCT TCOS PAYABLES                                                                                   $661,395.72
      3.12    AIR POWER SALES & SERVICE (EULESS,TX)                                                               823 W MARSHALL AVE                                                                     LONGVIEW          TX           75601        TRADE                                                                                                  $1,773.73
      3.13    AIR POWER SALES & SERVICE (LONGVIEW,TX)                                                             823 WEST MARSHALL AVE                                                                  LONGVIEW          TX           75601        TRADE                                                                                                    $774.00
      3.14    AIRGAS USA, LLC (FT WORTH)                                AIRGAS SOUTHWEST INC.                     319 NE 23RD STREET                                                                     FORT WORTH        TX           76106        TRADE                                                                                                    $693.84
      3.15    AIRGAS USA, LLC (WACO)                                                                              1101 CLAY AVE                                                                          WACO              TX           76706        TRADE                                                                                                  $3,153.70
      3.16    AIRGAS USA, LLC SALES (GRAND P                            AIRGAS USA LLC SALES SUPPORT CENTER       1168 113TH ST.                                                                         GRAND PRAIRIE     TX           75050        TRADE                                                                                                  $1,729.10
      3.17    AIRGAS USA, LLC SALES (GRAND PRAIRIE)                     AIRGAS USA LLC SALES SUPPORT CENTER       1168 113TH ST.                                                                         GRAND PRAIRIE     TX           75050        TRADE                                                                                                  $2,759.83
      3.18    ALLEN, WILLIAM L                                                                                    ADDRESS REDACTED                                                                                                                   TRADE                                                                                                  $4,402.24
      3.19    ALL-TEX PIPE & SUPPLY, INC. (FT WORTH)                    ALL-TEX PIPE AND SUPPLY INC.              5205 ELLIOTT REEDER                                                                    FORT WORTH        TX           76117        TRADE                                                                                                  $3,221.57
      3.20    AMERICAN ELECTRIC POWER (BOX 3                                                                      PO BOX 371883                                                                          PITTSBURGH        PA           15250-7883   TRADE                                                                                                $107,864.14
      3.21    AMERICAN PROFESSIONAL STAFFING SOLUTIONS                  SOLUTIONS LLC DBA APS SOLUTIONS           PO BOX 31001-2434                                                                      PASADENA          CA           91110-2434   TRADE                                                                                                  $7,866.32
      3.22    ARAMARK UNIFORM SERVICES (WACO)                                                                     22014 BUSH DR                                                                          WACO              TX           76712        TRADE                                                                                                    $253.33
      3.23    ARCHIVE SUPPLIES, INC.                                                                              8925 STERLING ST. #150                                                                 IRVING            TX           75063        TRADE                                                                                                  $1,489.35
      3.24    AREY, OLEN                                                                                          ADDRESS REDACTED                                                                                                                   TRADE                                                                                                    $130.00
      3.25    ARISE, INC.                                                                                         7000 S. EDGERTON RD. SUITE 100                                                         BRECKSVILLE       OH           44141-3172   TRADE                                                                                                  $2,960.00
      3.26    ARNOLD ISOLIERUNGEN                                                                                 ADDRESS REDACTED                                                                                                                   TRADE                                                                                                $279,612.00
      3.27    AT&T (BOX 105068)                                                                                   PO BOX 105068                                                                          ATLANTA           GA           30348-5068   TRADE                                                                                                     $47.42
      3.28    AT&T (BOX 5019)                                                                                     PO BOX 5019                                                                            CAROL STREAM      IL           60197-5019   TRADE                                                                                                  $3,150.17
      3.29    AT&T (ATLANTA,GA)                                                                                   PO BOX 105414                                                                          ATLANTA           GA           30348-5414   TRADE                                                                                                 $17,423.41
      3.30    AT&T LONG DISTANCE (BOX 5017)                             AT&T LONG DISTANCE                        PO BOX 5017                                                                            CAROL STREAM      IL           60197-5017   TRADE                                                                                                      $0.94
      3.31    AT&T MOBILITY (BOX 6463)                                                                            PO BOX 6463                                                                            CAROL STREAM      IL           60197-6463   TRADE                                                                                                  $1,958.23
      3.32    ATLAS COMMODITIES, LLC                                                                              3900 ESSEX LN SUITE 775                                                                HOUSTON           TX           77027        TRADE                                                                                                  $1,440.00
      3.33    ATMOS ENERGY (BOX 790311)                                                                           PO BOX 740353                                                                          CINCINNATI        OH           45274-0353   TRADE                                                                                                     $59.68
      3.34    ATMOS PIPELINE-TEXAS (BOX 8414                                                                      PO BOX 841425                                                                          DALLAS            TX           75284-1425   TRADE                                                                                                $103,806.17
      3.35    AUGUSTA REALTORS (TANNEHILL CO                            TANNEHILL CORP                            2481 S. DANVILLE STE A                                                                 ABILENE           TX           79605        TRADE                                                                                                  $1,150.00
      3.36    AUSTIN ENERGY                                             ATTN: MARK MIRICK                         PO BOX 3513                                                                            AUSTIN            TX           78764-3513   PUCT TCOS PAYABLES                                                                                     $8,031.66
      3.37    AUTOMATIC CHEF                                                                                      PO BOX 23009                                                                           WACO              TX           76702        TRADE                                                                                                    $861.75
      3.38    AVIAT U.S., INC. (ORDERS)                                                                           200 PARKER DR                                                                          AUSTIN            TX           78728        TRADE                                                                                                  $7,413.00
      3.39    AXIS CONSTRUCTION, LP (FT WORTH)                                                                    PO BOX 77916                                                                           FORT WORTH        TX           76177        TRADE                                                                                                 $32,010.00
      3.40    BABCOCK POWER SERVICES INC.                                                                         PO BOX 643476                                                                          PITTSBURGH        PA           15264-3476   TRADE                                                                                                 $24,855.00
      3.41    BANDERA ELECTRIC COOP                                                                               PO BOX 667                                                                             BANDERA           TX           78003-0667   PUCT TCOS PAYABLES                                                                                       $537.60
      3.42    BANK OF AMERICA - PETTY CASH                              ATTN: CORPORATE TREASURY-GOVERNANCE AND 100 NORTH TRYON STREET                          NCL-007-07-13                            CHARLOTTE         NC           28202        TRADE                                                                                                    $212.00
                                                                        CONTROL
      3.43    BANK OF AMERICA, N.A.                                                                               BUILDING C 2380 PERFORMANCE DR.               TX2-984-03-23                            RICHARDSON        TX           75082        BANK LINE OF CREDIT                                                                             $479,975,000.00
      3.44    BANK OF TOKYO                                             THE BANK OF TOKYO-MITSUBISHI LTD NEW YORK HARBORSIDE FINANCIAL CENTER PLAZA III         210 HUDSON STREET                        JERSEY CITY       NJ           07311        INTEREST RATE SWAP                                        X                                        Unliquidated
                                                                        BRANCH
       3.45   BARTLETT                                                                                            27492 STATE HIGHWAY 95                                                                 BARTLETT          TX           76511        MEMBER PREPAYMENTS                                                                  YES                   $0.32
       3.46   BASSELL PAM, CHAPTER 13 TRUSTE                                                                      PO BOX 1201                                                                            MEMPHIS           TN           38101-1201   TRADE                                                                                                   $899.08
       3.47   BENKE EAR NOSE & THROAT                                                                             1317 GLENWOOD DR                                                                       CLEBURNE          TX           76033        TRADE                                                                                                 $4,450.00
       3.48   BOLTON, BILLY P.                                                                                    2102 W EMERALD BEND CT                                                                 GRANBURY          TX           76049        TRADE                                                                                                   $260.00
       3.49   BRAZOS ELECTRIC POWER COOPERATIVE, INC. PENSION PLAN      ATTN: SMITHSON III, JOHN                  COMERICA BANK 1717 MAIN STREET, 4TH FLOOR                                              DALLAS            TX           75201        UNFUNDED PENSION OBLIGATION                                                                      $30,462,648.00
       3.50                                                             C/O NFDS,
              BRAZOS ELECTRIC POWER COOPERATIVE, INC. RETIREE WELFARE BENEFIT  PLANINC                            ATTN: HOMESTEAD FUNDS, INC                    PO BOX 219486                            KANSAS CITY       MO           64121        RETIREMENT BENEFIT UNFUNDED OBLIGATION                                                           $18,140,247.12
       3.51   BRAZOS EMPLOYEE GOLF TOURNAMEN                                                                      7616 BAGBY AVE                                                                         WACO              TX           76712        TRADE                                                                                                 $1,000.00
       3.52   BRAZOS SANDY CREEK COOPERATIVE                                                                      PO BOX 2585                                                                            WACO              TX           76702        POWER                                                                                            $11,497,185.45
       3.53   BRAZOS SANDY CREEK ELECTRIC COOPERATIVE, INC.                                                       PO BOX 2585                                                                            WACO              TX           76702        MAKE-WHOLE PROVISION                        X             X            X                        UNLIQUIDATED
       3.54   BREAUX, ERNEST P ELECTRICAL IN                                                                      PO BOX 11640                                                                           NEW IBERIA        LA           70562-1640   TRADE                                                                                               $444,027.00
       3.55   BREAUX, ERNEST P ELECTRICAL INC (ORDERS)                                                            PO BOX 11640                                                                           NEW IBERIA        LA           70562-1640   TRADE                                                                                               $936,849.60
       3.56   BRIDGETTE'S CLEANING                                                                                PO BOX 366                                                                             TOLAR             TX           76476        TRADE                                                                                                 $1,917.00
       3.57   BROOKS MFG COMPANY (CROSSARM                                                                        2120 PACIFIC STREET                                                                    BELLINGHAM        WA           98229        TRADE                                                                                                 $8,950.00
       3.58   BROWN, KEVIN R.                                                                                     ADDRESS REDACTED                                                                                                                   TRADE                                                                                                   $130.00
       3.59   BROWNSVILLE PUBLIC UTILITIES BOARD                                                                  PO BOX 3270                                                                            BROWNSVILLE       TX           78523-3270   PUCT TCOS PAYABLES                                                                                      $656.22
       3.60   BRUSH GENERATOR & MOTOR SERV (                            BRUSH GENERATOR & MOTOR SERVICES LLC      601 BRADDOCK AVE.                                                                      TURTLE CREEK      PA           15145        TRADE                                                                                                $80,148.10
       3.61   BRUSHY CREEK INDUSTRIAL SOLUTIONS                                                                   1421 LEDBETTER ST                                                                      ROUND ROCK        TX           78681        TRADE                                                                                                 $2,609.47
       3.62   BRYAN TEXAS UTILITIES                                                                               PO BOX 8000                                                                            BRYAN             TX           77805-8000   PUCT TCOS PAYABLES                                                                                  $172,974.82
       3.63   BRYAN TEXAS UTILITIES (BTU)1000(M/W SITE                                                            PO BOX 8000                                                                            BRYAN             TX           77805-8000   TRADE                                                                                                   $104.11
       3.64   BRYAN UTILITIES (BOX 8000)                                                                          PO BOX 8000                                                                            BRYAN             TX           77805-8000   TRADE                                                                                                   $106.20
       3.65   BTU BROKERS, INC. (FORMERLY PR                                                                      299 SOUTH MAIN                                                                         SALT LAKE CITY    UT           84111-2372   TRADE                                                                                                   $392.00
       3.66   CAPSTONE MECHANICAL                                                                                 7100 IMPERIAL DRIVE                                                                    WACO              TX           76712        TRADE                                                                                                   $772.23
       3.67   CARROLL JR, JAMES                                                                                   ADDRESS REDACTED                                                                                                                   TRADE                                                                                                    $56.00
       3.68   CATHEY, RICKY A.                                                                                    ADDRESS REDACTED                                                                                                                   TRADE                                                                                                   $227.36
       3.69   CDW, INC. (ORDERS)                                        CDW INC.                                  200 NORTH MILWAUKEE AVE.                                                               VERNON HILLS      IL           60061        TRADE                                                                                                 $3,072.25
       3.70   CENTERPOINT (FORMERLY RELIANT)                                                                      PO BOX 2362                                                                            HOUSTON           TX           77252-2362   PUCT TCOS PAYABLES                                                                                   $36,369.39
       3.71   CENTURYLINK (FMR EMBARQ) - 2961                                                                     PO BOX 2961                                                                            PHOENIX           AZ           85062-2961   TRADE                                                                                                 $5,247.45
       3.72   CHAPMAN CONSTRUCTION CO., L.P.                                                                      10011 WEST UNIVERSITY                                                                  MCKINNEY          TX           75071        TRADE                                                                                                     $0.01
       3.73   CHEMTREAT, INC (AUSTIN)                                   CHEMTREAT INC.                            6001 ROXBURY LANE                                                                      AUSTIN            TX           78739        TRADE                                                                                                $21,000.00
       3.74   CHEMTREAT, INC. (QUOTES/ORDERS                            CHEM TREAT INC.                           5640 COX ROAD                                                                          GLEN ALLEN        VA           23060        TRADE                                                                                                $86,778.38
       3.75   CHEROKEE COUNTY ELECTRIC COOP                                                                       PO BOX 257                                                                             RUSK              TX           75785-0257   PUCT TCOS PAYABLES                                                                                    $1,629.92
       3.76   CHOICE POWER, L.P.                                                                                  5151 SAN FELIPE SUITE 2200                                                             HOUSTON           TX           77056        TRADE                                                                                                   $664.00
       3.77   CIMA ENERGY LP                                                                                      1221 MCKINNEY ST. SUITE 4150                                                           HOUSTON           TX           77010        NATURAL GAS                                                            X                            $857,360.00
       3.78   CITI GROUP ENERGY INC.                                                                              2800 POST OAK BLVD                                                                     HOUSTON           TX           77056        TRADE                                                                                               $208,000.00
       3.79   CITY OF FRISCO - REMIT                                                                              PO BOX 2730                                                                            FRISCO            TX           75034        TRADE                                                                                                   $240.80
       3.80   CITY OF HEARNE                                            MICHAEL "DUBA" BREWER TAX COLLECTOR       315 NORTH CENTER ST                                                                    FRANKLIN          TX           77856        TRADE                                                                                                $25,552.70
       3.81   CITY OF HUDSON OAKS                                                                                 210 HUDSON OAKS DR.                                                                    HUDSON OAKS       TX           76087-7760   TRADE                                                                                                    $46.60
       3.82   CITY OF LEWISVILLE                                                                                  PO BOX 731962                                                                          DALLAS            TX           75373-1962   TRADE                                                                                                 $1,054.74
       3.83   CITY OF PLANO                                                                                       PO BOX 861990                                                                          PLANO             TX           75086-1990   TRADE                                                                                                   $673.34
       3.84   CLEAVER BROOKS SALES AND SERVI                                                                      PO BOX 226865                                                                          DALLAS            TX           75222-6865   TRADE                                                                                                 $7,125.00
       3.85   CLEAVER-BROOKS SALES AND SERVICE (DALLAS                                                            1956 SINGLETON BOULEVARD                                                               DALLAS            TX           75212        TRADE                                                                                                 $6,957.26
       3.86   CLEBURNE, CITY OF                                                                                   PO BOX 657                                                                             CLEBURNE          TX           76033        TRADE                                                                                               $164,593.52
       3.87   CLEBURNE, CITY OF (INVOICES)                                                                        PO BOX 677                                                                             CLEBURNE          TX           76033-0677   TRADE                                                                                                 $3,264.77
       3.88   COHN & GREGORY (BOX 671435)                                                                         PO BOX 671435                                                                          DALLAS            TX           75267-1435   TRADE                                                                                                   $188.67
       3.89   COLE'S PORTABLE SANITATION SER                                                                      8024 C.R. 518                                                                          BURLESON          TX           76028        TRADE                                                                                                   $250.00
       3.90   COLLEGE STATION, CITY OF                                  ATTN: ACCOUNTS RECEIVABLE-TAMMY LARUE     PO BOX 9973                                                                            COLLEGE STATION   TX           77842-9973   PUCT TCOS PAYABLES                                                                                      $373.82
       3.91   COMANCHE                                                                                            PO BOX 729                                                                             COMANCHE          TX           76442-0729   MEMBER PREPAYMENTS                                                                  YES           $4,188,085.84
       3.92   COMANCHE                                                                                            PO BOX 729                                                                             COMANCHE          TX           76442-0729   MEMBER REBATES                                                                      YES             $664,746.65
       3.93   COMANCHE ELECTRIC COOP-INV/VO.                                                                      PO BOX 729                                                                             COMANCHE          TX           76442-0729   TRADE                                                                                                   $787.58
       3.94   COMSEARCH (ASHBURN, VA) ORDERS                                                                      19700 JANELIA FARM BLVD                                                                ASHBURN           VA           20147        TRADE                                                                                                 $5,390.00
       3.95   CONCORD ENERGY LLC                                                                                  1401 17TH ST #1500                                                                     DENVER            CO           80202        NATURAL GAS                                                            X                         $37,382,500.00
       3.96   CONOCO PHILLIPS                                                                                     PO BOX 2197                                                                            HOUSTON           TX           77252-2197   POWER DERIVATIVES                                                                                 $1,242,009.00
       3.97   CONOCOPHILLIPS COMPANY                                    ATTN: CONOCOPHILLIPS GAS & POWER          PO BOX 2197                                                                            HOUSTON           TX           77252-2197   TRADE                                                                                               $211,600.00
       3.98   CONSOLIDATED COMMUNICATIONS                                                                         PO BOX 66523                                                                           ST. LOUIS         MO           63166-6523   TRADE                                                                                                    $90.83
       3.99   CONTINENTAL RELIABILITY LLC                                                                         PO BOX 2778                                                                            GRAPEVINE         TX           76099        TRADE                                                                                                 $9,219.35
      3.100   CONTRACTOR ENVIRONMENTAL SERVICES                                                                   PO BOX 23261                                                                           WACO              TX           76702-3261   TRADE                                                                                                   $278.00
      3.101   CONTROLLED FLUIDS, INC. (BEAUMONT,TX)                                                               PO BOX 22859                                                                           BEAUMONT          TX           77720-2859   TRADE                                                                                                 $6,327.98
      3.102   COOK, BILLY                                                                                         ADDRESS REDACTED                                                                                                                   TRADE                                                                                                   $106.39
      3.103   CORMETECH, INC.                                           ENVIRONMENTAL TECHNOLOGIES                5000 INTERNATIONAL DR                                                                  DURHAM            NC           27712        TRADE                                                                                                $24,000.00
      3.104   COSA XENTAUR                                                                                        4140 WORLD HOUSTON PARKWAY                                                             HOUSTON           TX           77032        TRADE                                                                                                 $3,098.24
      3.105   COSERV                                                                                              7701 S STEMMONS                                                                        CORINTH           TX           76210        MEMBER PREPAYMENTS                                                                  YES          $29,216,682.44
      3.106   COSERV (BOX 650785)                                                                                 PO BOX 734803                                                                          DALLAS            TX           75373-4803   TRADE                                                                                                   $886.15
      3.107   CROSS TEXAS TRANSMISSION                                  ATTN: ACCOUNTS RECEIVABLE                 1122 S CAPITAL OF TEXAS HWY STE 100                                                    AUSTIN            TX           78746        PUCT TCOS PAYABLES                                                                                  $560,893.32
      3.108   CROY LANDSCAPING (VARMINT FENCING)                                                                  PO BOX 171                                                                             LIPAN             TX           76462        TRADE                                                                                                 $2,150.00




In re: Brazos Electric Power Cooperative, Inc.
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                                                                                                                                 27              SCHEDULE F ATTACHMENT
                                                                                                                                       Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                                                                                                                         Unliquidated
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                                                                                                                                                                                                                                                                                                                   Is the Claim




                                                                                                                                                                                                                                                                                                        Disputed
                                                                                                                                                                                                                                                                                                                    Subject to
                                                                                                                                                                                                                                                                                                                      Offset?
        ID                             Creditor's Name                     Address 1                                 Address 2                                         Address 3                  City           State        ZIP                   Basis for Claim                                                  (Yes/No)     Total Claim
      3.109   CUMMINS SOUTHERN PLAINS, LLC D                                                      PO BOX 206039                                                                           DALLAS            TX           75320-6039   TRADE                                                                                              $17,920.00
      3.110   DALLAS FLUID SYSTEMS, LLC (SWA             DBA:SWAGELOK NORTH TEXAS                 505 CENTURY PKWY STE100                                                                 ALLEN             TX           75013        TRADE                                                                                               $6,159.68
      3.111   DAVIS STEEL SERVICES (ORDERS               MJ LATHERN CO INC DBA DAVIS IRON WORKS   PO BOX 20425                                                                            WACO              TX           76702        TRADE                                                                                              $33,330.00
      3.112   DAVISON VAN CLEVE PC                                                                1750 SW HARBOR WAY                                                                      PORTLAND          OR           97201        TRADE                                                                                               $4,301.00
      3.113   DEALERS ELECTRICAL SUPPLY (WACO)                                                    1416 FRANKLIN AVE                                                                       WACO              TX           76701        TRADE                                                                                              $16,557.40
      3.114   DEEP EAST TEXAS ELECTRIC COOP                                                       PO BOX 736                                                                              SAN AUGUSTINE     TX           75972        PUCT TCOS PAYABLES                                                                                  $1,179.06
      3.115   DELL DIRECT SALES L.P. (AUSTIN) ORDERS                                              PO BOX 676021                                                                           DALLAS            TX           75267-6021   TRADE                                                                                               $1,725.00
      3.116   DENTON MUNICIPAL ELECTRIC                                                           PO BOX 660150                                                                           DALLAS            TX           75266-0150   PUCT TCOS PAYABLES                                                                                $496,757.36
      3.117   DICKEY, JULIE A.                                                                    ADDRESS REDACTED                                                                                                                    TRADE                                                                                                  $40.32
      3.118   DIRECT ENERGY BUSINESS                                                              PO BOX 660749                                                                           DALLAS            TX           75266        TRADE                                                                                                 $266.76
      3.119   DOBLE ENGINEERING (C/O ENERGY REPS)        C/O ENERGY REPS                          6080 S HULEN ST 360 PMB 302                                                             FORT WORTH        TX           75028        TRADE                                                                                                 $666.37
      3.120   DOMINGUEZ, JAMES                                                                    ADDRESS REDACTED                                                                                                                    TRADE                                                                                                 $120.96
      3.121   DOUGLASS DISTRIBUTING CO (DALLAS) ORDERS                                            PO BOX 654045                                                                           DALLAS            TX           75265-4045   TRADE                                                                                                 $520.00
      3.122   DTN, LLC (FKNA-TELVENT)                                                             26385 NETWORK PLACE                                                                     CHICAGO           IL           60673-1263   TRADE                                                                                                 $585.00
      3.123   DUB-L TAPE, INC.                                                                    4226 FRANKLIN                                                                           WACO              TX           76710        TRADE                                                                                                 $462.05
      3.124   DUKE ENERGY RENEWABLES                                                              1000 E MAIN ST                                                                          PLAINFIELD        IN           46168        TRADE                                                                                             $458,432.75
      3.125   DUPUY OXYGEN & SUPPLY COMPANY                                                       7201 IMPERIAL DRIVE                                                                     WACO              TX           76712-7833   TRADE                                                                                                 $326.02
      3.126   DXP ENTERPRISES, INC.(GRAND PR                                                      1510 W SHADY GROVE SUITE 200                                                            GRAND PRAIRIE     TX           75050        TRADE                                                                                                  $28.28
      3.127   DXP ENTERPRISES, INC.(GRAND PRAIRIE)JACK                                            1510 W SHADY GROVE SUITE 200                                                            GRAND PRAIRIE     TX           75050        TRADE                                                                                                   $4.80
      3.128   EADS                                                                                PO BOX 712465                                                                           CINCINNATI        OH           45271-2465   TRADE                                                                                               $3,842.58
      3.129   EADS COMPANY, THE (ORDERS)                                                          1120 GRADER ST SUITE 400                                                                DALLAS            TX           75238        TRADE                                                                                                 $153.52
      3.130   EAGLE REMEDIATION & DEMOLITION                                                      PO BOX 70                                                                               AZLE              TX           76098        TRADE                                                                                              $10,901.00
      3.131   EAGLE REMEDIATION & DEMOLITION SERVICES                                             PO BOX 70                                                                               AZLE              TX           76098        TRADE                                                                                               $1,033.40
      3.132   EAST TEXAS ELECTRIC COOP                                                            2905 WESTWARD DRIVE                                                                     NACOGDOCHES       TX           75964        PUCT TCOS PAYABLES                                                                                     $67.52
      3.133   EDF TRADING (QEAGL)                                                                 601 TRAVIS STREET                                                                       HOUSTON           TX           77002        POWER DERIVATIVES                                                                                  $86,246.00
      3.134   ELECTRIC RELIABILITY COUNCIL OF TEXAS                                               7620 METRO CENTER DRIVE                                                                 AUSTIN            TX           78744        ERCOT COLLATERAL                                                    X                       $2,205,024,784.48
      3.135   ELECTRIC TRANSMISSION TEXAS                                                         PO BOX 24426                                                                            CANTON            OH           44701-4426   PUCT TCOS PAYABLES                                                                              $2,469,385.78
      3.136   ELITE SUPPLY PARTNERS (FMLY CI                                                      PO BOX 946                                                                              ODESSA            TX           79760        TRADE                                                                                               $3,879.23
      3.137   ELITE SUPPLY PARTNERS (FMLY CITY PIPE)                                              PO BOX 946                                                                              ODESSA            TX           79760        TRADE                                                                                                 $671.71
      3.138   ELLIOTT ELECTRIC SUPPLY (BRIDGEPORT)                                                204 LAKE RD                                                                             BRIDGEPORT        TX           76426        TRADE                                                                                               $3,436.15
      3.139   EMERSON PROCESS MANAGEMENT                                                          200 BETA DRIVE                                                                          PITTSBURGH        PA           15238        TRADE                                                                                             $530,700.00
      3.140   ENDRESS+HAUSER, INC. C/O VECTOR CONTROLS   C/O VECTOR CONTROLS AND AUTOMATION GROUP 2200 10TH STREET SUITE 300                                                              PLANO             TX           75074        TRADE                                                                                                 $400.00

      3.141   ENEL (PREVIOUSLY OPEN ROAD RENEWABLES)     100 BRICKSTONE SQ                         SUITE 300                                                                              ANDOVER           MA           01810        CUSTOMER ADVANCES FOR CONSTRUCTION                                                             $1,532,270.66
      3.142   ENERGY TRANSFER FUEL, L                    ATTN: PAUL MCPHEETERS                     800 EAST SONTERRA BLVD SUITE 400                                                       SAN ANTONIO       TX           78258        TRADE                                                                                            $307,676.47
      3.143   ENTERGY GULF STATES INC (REMIT                                                       PO BOX 61009                                                                           NEW ORLEANS       LA           70161-1830   TRADE                                                                                                $169.88
      3.144   ENTERPRISE PRODUCTS OPERATING              ATTN: GAS ACCOUNTING                      PO BOX 972866                                                                          DALLAS            TX           75397-2866   TRADE                                                                                            $110,511.00
      3.145   ENVIRONMENTAL SYSTEMS CORPORATION (ESC)    SDS-12-1896                               PO BOX 86                                                                              MINNEAPOLIS       MN           55486-1896   TRADE                                                                                             $21,000.00
      3.146   EPIC COMMUNICATIONS (ORDERS)                                                         18131 FM 150                                                                           DRIFTWOOD         TX           78619        TRADE                                                                                             $31,243.00
      3.147   ERATH CO. TAX ASSESSOR/COLLECTOR           JENNIFER SCHLICKE CAREY                   320 WEST COLLEGE                                                                       STEPHENVILLE      TX           76401        TRADE                                                                                              $5,369.24
      3.148   ERICO                                                                                3138 PAYSPHERE CIRCLE                                                                  CHICAGO           IL           60674        TRADE                                                                                              $3,999.70
      3.149   ETC ENDURE ENERGY                                                                    7400 W 129TH STREET SUITE 250                                                          OVERLAND PARK     KS           66213        TRADE                                                                                             $23,226.72
      3.150   ETC MARKETING, LTD                                                                   800 E SONTERRA BLVD SUITE 400                                                          SAN ANTONIO       TX           78258-8941   NATURAL GAS                                                         X                         $15,372,239.00
      3.151   ETEC INDUSTRIAL SERVICES, LLC                                                        PO BOX 58                                                                              PORTLAND          TX           78374        TRADE                                                                                             $33,940.00
      3.152   EXELON CORPORATION                         1310 POINT ST                             FLOOR 11                                                                               BALTIMORE         MD           21231        POWER DERIVATIVES                                                                              $1,411,838.00
      3.153   FAMOUS MINERAL WATER CO.                                                             209 N.W. 6TH ST.                                                                       MINERAL WELLS     TX           76067        TRADE                                                                                                $246.50
      3.154   FANNIN ELECTRIC COOP                       FANNIN COUNTY ELECTRIC COOPERATIVE INC    PO BOX 250                                                                             BONHAM            TX           75418-0250   PUCT TCOS PAYABLES                                                                                 $1,235.40
      3.155   FARMERS ELECTRIC COOP                                                                2000 I 30 E                                                                            GREENVILLE        TX           75402-9084   PUCT TCOS PAYABLES                                                                                 $5,580.18
      3.156   FASTENAL COMPANY (BOX 1286)-REMIT                                                    PO BOX 1286                                                                            WINONA            MN           55987-1286   TRADE                                                                                              $4,482.47
      3.157   FASTENAL COMPANY (BRIDGEPORT)                                                        1409 CHICO HWY                                                                         BRIDGEPORT        TX           76426        TRADE                                                                                              $2,213.35
      3.158   FASTENAL COMPANY (WEATHERFORD)                                                       1508 FT. WORTH HWY. SUITE 100                                                          WEATHERFORD       TX           76086        TRADE                                                                                              $1,758.42
      3.159   FASTENAL WACO (TXWAC)                                                                5020 FRANKLIN AVE                                                                      WACO              TX           76710        TRADE                                                                                              $4,839.21
      3.160   FAYETTE ELECTRIC COOP                                                                357 N WASHINGTON ST                                                                    LAGRANGE          TX           78945        PUCT TCOS PAYABLES                                                                                     $4.04
      3.161   FAYETTE ELECTRIC COOPERATIVE                                                         357 N WASHINGTON ST                                                                    LAGRANGE          TX           78945        TRADE                                                                                                  $2.02
      3.162   FDL OPERATING LLC                                                                    909 LAKE CAROLYN PKWY                                                                  IRVING            TX           75039        TRADE                                                                                                $118.55
      3.163   FED EX (BOX 660481)                                                                  PO BOX 660481                                                                          DALLAS            TX           75266-0481   TRADE                                                                                                $495.32
      3.164   FIRSTMARK FOUNDATIONS                                                                PO BOX 80252                                                                           BILLINGS          MT           59108        TRADE                                                                                             $53,023.78
      3.165   FITZGERALD LAWNSCAPER                                                                205 DEB                                                                                WACO              TX           76712        TRADE                                                                                              $1,825.00
      3.166   FLEX-KLEEN FILTRATION TECHNOLO                                                       PO BOX 639847                                                                          CINCINNATI        OH           45263-9847   TRADE                                                                                              $3,172.02
      3.167   FLORESVILLE ELECTRIC POWER SYSTEM                                                    1400 FOURTH STREET                                                                     FLORESVILLE       TX           78114        PUCT TCOS PAYABLES                                                                                    $59.11
      3.168   FLOWSERVE FSD CORP (PUMP DIVISION - HOU)   PUMP DIVISION                             6832 WYNNEWOOD LN                                                                      HOUSTON           TX           77008        TRADE                                                                                             $22,630.00
      3.169   FORT BELKNAP                               ATTN: KENDALL MONTGOMERY                  1302 W. MAIN ST. PO BOX 486                                                            OLNEY             TX           76364        MEMBER PREPAYMENTS                                                               YES             $290,348.16
      3.170   FORT BELKNAP                               ATTN: KENDALL MONTGOMERY                  1302 W. MAIN ST. PO BOX 486                                                            OLNEY             TX           76364        MEMBER REBATES                                                                   YES             $267,947.11
      3.171   FOSTER, MARTY C.                                                                     ADDRESS REDACTED                                                                                                                   TRADE                                                                                                $130.00
      3.172   FRAUSTO, IAN                                                                         ADDRESS REDACTED                                                                                                                   TRADE                                                                                                $113.40
      3.173   FREEPOINT COMMODITIES LLC                                                            58 COMMERCE ROAD                                                                       STAMFORD          CT           06902        NATURAL GAS                                                         X                          $1,652,055.00
      3.174   FRONTIER COMMUNICATIONS                                                              PO BOX 740407                                                                          CINCINNATI        OH           45274-0407   TRADE                                                                                              $2,106.83
      3.175   FSTI, INC.                                                                           6300 BRIDGEPOINT PKWY. STE. 1-200                                                      AUSTIN            TX           78730        TRADE                                                                                              $2,740.80
      3.176   FTI GROUP (NAMPA, ID) (QUOTES/                                                       5125 ROY DR                                                                            NAMPA             ID           83686        TRADE                                                                                                $187.50
      3.177   GARLAND POWER AND LIGHT                                                              217 N. FIFTH ST.                                                                       GARLAND           TX           75040        PUCT TCOS PAYABLES                                                                               $339,940.82
      3.178   GARZA JR, MARCIANO                                                                   ADDRESS REDACTED                                                                                                                   TRADE                                                                                                $487.54
      3.179   GDC INDUSTRIAL, INC.                                                                 PO BOX 1457                                                                            SULPHUR SPRINGS   TX           75483        TRADE                                                                                             $33,738.00
      3.180   GE INTERNATIONAL, C/O TROY BO              C/O TROY BOHNERT                          3844 HENDERSON RANCH ROAD                                                              BRIDGEPORT        TX           76426        TRADE                                                                                             $25,583.16
      3.181   GE INTERNATIONAL, C/O TROY BOHNERT         C/O TROY BOHNERT                          3844 HENDERSON RANCH ROAD                                                              BRIDGEPORT        TX           76426        TRADE                                                                                             $83,285.13
      3.182   GENERAL ELECTRIC INTL (SMART SIGNAL) GA    GE POWER DIGITAL                          4200 WILDWOOD PARKWAY                                                                  ATLANTA           GA           30339        TRADE                                                                                             $91,927.00
      3.183   GENERAL RUBBER CORP. (TUCSON, AZ)          GENERAL RUBBER CORP.                      2201 E. GANLEY RD.                                                                     TUCSON            AZ           85706        TRADE                                                                                              $1,188.44
      3.184   GENESIS SYSTEMS INC.                                                                 2663 MARQUIS DRIVE                                                                     GARLAND           TX           75042        TRADE                                                                                              $6,485.83
      3.185   GEUS (FORMERLY GREENVILLE)                 DEPT OF ACCOUNTING/MATERIALS MGT          6000 JOE RAMSEY BLVD                                                                   GREENVILLE        TX           75402        PUCT TCOS PAYABLES                                                                                   $243.74
      3.186   GNRL ELECTRIC INT'L (B                                                               PO BOX 643449                                                                          PITTSBURGH        PA           15264-3449   TRADE                                                                                            $772,159.11
      3.187   GOLDEN SPREAD ELECTRIC COOP                AS AGENT FOR: SOUTHWEST TEXAS ELECTRIC    PO BOX 9898                                                                            AMARILLO          TX           79105-5898   PUCT TCOS PAYABLES                                                                                   $238.48
      3.188   GOLDMAN SACHS                                                                        200 WEST ST                                                                            NEW YORK          NY           10282        INTEREST RATE SWAP INTEREST PAYABLE                                                            $1,547,866.58
      3.189   GOT TO GO SOLUTIONS, INC.                  GTG SOLUTIONS INC.                        PO BOX 490                                                                             CHICO             TX           76431        TRADE                                                                                                $175.00
      3.190   GRABLE OIL COMPANY                         ATTN: JEARY GRAYHILL                      PO BOX 306                                                                             JACKSBORO         TX           76458        TRADE                                                                                             $17,975.25
      3.191   GRAINGER, INC. #867859803-JOHN             ACCT 867859803 (JOHNSON)                  PO BOX 419267                                                                          KANSAS CITY       MO           64141-6267   TRADE                                                                                              $1,647.17
      3.192   GRAINGER, INC. (NORTHEAST PKWY FT WORTH)   W. W. GRAINGER INC.                       5000 NORTHEAST PKWY                                                                    FORT WORTH        TX           76106        TRADE                                                                                                 $13.00
      3.193   GRAINGER, INC. (WICHITA FALLS)             W.W. GRAINGER INC.                        113 HENRIETTA ST                              ACCT. 863026647                          WICHITA FALLS     TX           76301        TRADE                                                                                              $2,378.32
      3.194   GRAINGER, INC. (WICHITA FALLS) ORDERS      W.W. GRAINGER INC.                        113 HENRIETTA ST                              ACCT. 863026647                          WICHITA FALLS     TX           76301        TRADE                                                                                             $10,872.33
      3.195   GRANBURY MUNICIPAL (CITY OF GRANBURY)      GRANBURY MUNICIPAL UTILITIES              PO BOX 969                                                                             GRANBURY          TX           76048-0969   TRADE                                                                                                 $20.26
      3.196   GRAPHIC PRODUCTS INC.                                                                6445 SW FALLBROOK PL                                                                   BEAVERTON         OR           97008        TRADE                                                                                              $4,734.53
      3.197   GRAY CLEANING SERVICES                                                               100 AUSTIN AVE STE 104                                                                 WEATHERFORD       TX           76086        TRADE                                                                                                $436.50
      3.198   GRAYBAR ELECTRIC COMPANY, INC. (FT WORTH                                             4601 CAMBRIDGE ROAD                                                                    FORT WORTH        TX           76155        TRADE                                                                                              $1,598.60
      3.199   GRAYBAR ELECTRIC COMPANY, INC. (WACO)                                                PO BOX 840458                                                                          DALLAS            TX           75284-0458   TRADE                                                                                              $1,234.25
      3.200   GRAYSON-COLLIN ELECTRIC COOP                                                         PO BOX 548                                                                             VAN ALSTYNE       TX           75495-0548   PUCT TCOS PAYABLES                                                                                $12,809.48
      3.201   GROSS-YOWELL & COMPANY, INC.                                                         PO BOX 7615                                                                            WACO              TX           76714-7615   TRADE                                                                                              $5,547.52
      3.202   GTC CONTROL SOLUTIONS, INC.                                                          6 SKYLINE DRIVE STE 150                                                                HAWTHORNE         NY           10532        TRADE                                                                                             $16,062.54
      3.203   HACH COMPANY (REMIT)                                                                 2207 COLLECTIONS CENTER DRIVE                                                          CHICAGO           IL           60693        TRADE                                                                                                $320.22
      3.204   HACH COMPANY (PURCHASE ORDERS)             HACH COMPANY                              5600 LINDBERGH DR                                                                      LOVELAND          CO           80539-0389   TRADE                                                                                              $1,301.00
      3.205   HALL, RONNIE                                                                         ADDRESS REDACTED                                                                                                                   TRADE                                                                                                 $13.44
      3.206   HAMILTON                                   ATTN: STEVE YOUNG                         420 NORTH RICE PO BOX 753                                                              HAMILTON          TX           76531        MEMBER PREPAYMENTS                                                               YES           $2,371,812.57
      3.207   HAMILTON COUNTY ELECTRIC-INV/V             COOPERATIVE ASSOCIATION                   PO BOX 753                                                                             HAMILTON          TX           76531-0753   TRADE                                                                                              $3,750.00
      3.208   HATFIELD AND COMPANY, INC. (ROCKWALL)      HATFIELD AND COMPANY INC.                 2475 DISCOVERY BLVD                                                                    ROCKWALL          TX           75032        TRADE                                                                                             $15,132.00
      3.209   HAWTHORNE, SHAWN H.                                                                  ADDRESS REDACTED                                                                                                                   TRADE                                                                                                 $27.63
      3.210   HAZEL'S HOT SHOT, INC.                                                               PO BOX 810239                                                                          DALLAS            TX           75381        TRADE                                                                                              $1,068.14
      3.211   HEALER PRINTING & OFFICE SUPPLY                                                      906 FRANKLIN AVE                                                                       WACO              TX           76701        TRADE                                                                                                 $19.25
      3.212   HEART OF TEXAS                             ATTN: BRANDON YOUNG                       1111 JOHNSON DRIVE PO BOX 357                                                          MCGREGOR          TX           76657        MEMBER REBATES                                                                   YES           $2,479,688.82
      3.213   HEART OF TEXAS                             ATTN: BRANDON YOUNG                       1111 JOHNSON DRIVE PO BOX 357                                                          MCGREGOR          TX           76657        MEMBER PREPAYMENTS                                                               YES             $644,234.77
      3.214   HEART OF TEXAS ELECTRIC COOPER                                                       PO BOX 598                                                                             ROSEBUD           TX           76570-0598   TRADE                                                                                                $393.80
      3.215   HEART OF TEXAS ELECTRIC COOPERATIVE        ATTN: BRANDON YOUNG                       1111 JOHNSON DRIVE PO BOX 357                                                          MCGREGOR          TX           76657        TRADE                                                                                                $701.72
      3.216   HILCO                                      ATTN: THOMAS CHEEK                        115 EAST MAIN STREET PO BOX 127                                                        ITASCA            TX           76055        MEMBER PREPAYMENTS                                                               YES                 $153.51
      3.217   HILL-LAKE GAS STORAGE LLC                                                            1201 LOUISIANA ST STE 700                                                              HOUSTON           TX           77002        TRADE                                                                                             $34,172.90




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                                                                                                                                     27               SCHEDULE F ATTACHMENT
                                                                                                                                            Creditors Who Have Non-Priority Unsecured Claims




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        ID                                 Creditor's Name                         Address 1                                 Address 2                                      Address 3                     City            State       ZIP                   Basis for Claim                                                   (Yes/No)     Total Claim
      3.218   HINOJOS, ISMAEL                                                                            ADDRESS REDACTED                                                                                                                      TRADE                                                                                                 $188.24
      3.219   HI-PLAINS FILTRATION & SUPPLY, INC.                                                        1021 NORTH PRICE RD                                                                     PAMPA               TX           79066        TRADE                                                                                                 $197.28
      3.220   HOLLAS, KENNETH                                                                            ADDRESS REDACTED                                                                                                                      TRADE                                                                                               $3,310.64
      3.221   HOTSY - NORTH TEXAS SALES & DISTRIBUTION                                                   PO BOX 540513                                                                           DALLAS              TX           75354-0513   TRADE                                                                                               $4,174.20
      3.222   HOUSTON COUNTY ELECTRIC COOP                                                               PO BOX 52                                                                               CROCKETT            TX           75835        PUCT TCOS PAYABLES                                                                                 $11,089.94
      3.223   HOWARD, WILLIAM W.                                                                         ADDRESS REDACTED                                                                                                                      TRADE                                                                                                 $382.34
      3.224   HRST, INC.                                                                                 6557 CITY WEST PARKWAY                                                                  EDEN PRAIRIE        MN           55344        TRADE                                                                                              $69,100.00
      3.225   ICKERT, RICK                                                                               ADDRESS REDACTED                                                                                                                      TRADE                                                                                               $6,214.96
      3.226   IK NETWORK SOLUTIONS (ORDERS/PO'S)             IK NETWORK SOLUTIONS                        PO BOX 2140                                                                             LITTLE ROCK         AR           72203        TRADE                                                                                              $10,558.00
      3.227   INFORMATION REQUIREMENTS CLEARINGHOUSE                                                     5600 SOUTH QUEBEC STREET SUITE 250C                                                     GREENWOOD VILLAGE   CO           80111        TRADE                                                                                               $2,375.00
      3.228   INGERSOLL RAND (DALLAS) ORDERS                 INGERSOLL RAND                              8901 DIRECTORS ROW                                                                      DALLAS              TX           75247        TRADE                                                                                               $2,920.89
      3.229   INGERSOLL-RAND - SERVICE CENTE                 INGERSOLL-RAND                              4310 ADLER DR STE 200                                                                   DALLAS              TX           75211        TRADE                                                                                               $1,012.50
      3.230   INTEGRATED POWER COMPANY, LLC.                                                             PO BOX 1743                                                                             NORTH PLATTE        NE           69103        TRADE                                                                                             $406,943.64
      3.231   INTEGRITY POWER SOLUTIONS (IPS                                                             PO BOX 93567                                                                            SOUTHLAKE           TX           76092-0115   TRADE                                                                                             $467,682.50
      3.232   INTERCONTINENTAL EXCHANGE (BOX                                                             PO BOX 935278                                                                           ATLANTA             GA           31193-3265   TRADE                                                                                               $2,055.00
      3.233   INTERTEC INSTRUMENTATION INC                                                               11050 WEST LITTLE YORK                                                                  HOUSTON             TX           77041        TRADE                                                                                               $2,906.36
      3.234   INTERTECH COMMERCIAL FLOORING                                                              1106 SMITH ROAD SUITE 100                                                               AUSTIN              TX           78721        TRADE                                                                                               $1,716.00
      3.235   IRBY CO., STUART C. (AUSTIN) (ORDERS)                                                      9705 BECK CIRCLE                                                                        AUSTIN              TX           78758        TRADE                                                                                              $18,897.34
      3.236   IRBY CO., STUART C. (FT. WORTH/RICHLAND)                                                   7125 BELTON                                                                             FORT WORTH          TX           76118        TRADE                                                                                             $133,730.52
      3.237   ITL-INTERNATIONAL LIGHTING, LLC (ORDERS)       ITL-INTERNATIONAL TOWER LIGHTING LLC        3720 KEYSTONE AVE                                                                       NASHVILLE           TN           37211        TRADE                                                                                                 $561.80
      3.238   IVANTI (FKA HEAT SOFTWARE USA, INC)            DEPT 0352                                   PO BOX 120352                                                                           DALLAS              TX           75312-0352   TRADE                                                                                               $8,911.20
      3.239   J. ARON & COMPANY                                                                          85 BROAD STREET                                                                         NEW YORK            NY           10004        INTEREST RATE SWAP                                     X                                         Unliquidated
      3.240   J. ARON & COMPANY                                                                          85 BROAD STREET                                                                         NEW YORK            NY           10004        POWER DERIVATIVES                                                                              $2,148,895.00
      3.241   J. ARON & COMPANY                                                                          85 BROAD STREET                                                                         NEW YORK            NY           10004        TRADE                                                                                             $367,200.00
      3.242   J.P. MORGAN                                    JPMORGAN CHASE BANK                         500 STANTON CHRISTIANA ROAD                  COLLATERAL MIDDLE OFFICE AMERICAS 3/OPS2   NEWARK              DE           19713        INTEREST RATE SWAP                                     X                                         Unliquidated
      3.243   J-A-C                                          ATTN: SHANE WILEY                           1784 FM 172                                                                             HENRIETTA           TX           76365-7108   MEMBER PREPAYMENTS                                                               YES              $583,203.91
      3.244   JACK OF ALL TRADES, INC.                                                                   PO BOX 7818                                                                             WACO                TX           76710-7818   TRADE                                                                                               $5,012.58
      3.245   JASON'S DELI                                                                               PO BOX 4869 DEPT 271                                                                    HOUSTON             TX           77210-4869   TRADE                                                                                                 $267.32
      3.246   JAYNES, CLAUDE W.                                                                          599 PEEVEY LANE                                                                         WACO                TX           76706        TRADE                                                                                                 $164.56
      3.247   JM TEST SYSTEMS, INC. (BATON R                                                             7323 TOM DRIVE                                                                          BATON ROUGE         LA           70806        TRADE                                                                                                 $800.00
      3.248   JOE W. FLY CO., INC. (FT WORTH)                JOE W. FLY CO. INC.                         2421 THOMAS ROAD                                                                        FORT WORTH          TX           76117        TRADE                                                                                                 $309.96
      3.249   JOHN ZINK, LLC (TULSA,OK) ORDERS               KCTG HOLDINGS LP                            11920 E APACHE ST                                                                       TULSA               OK           74116        TRADE                                                                                              $12,338.02
      3.250   JONES, BILLY                                                                               ADDRESS REDACTED                                                                                                                      TRADE                                                                                               $3,911.20
      3.251   JONES, GLENN                                                                               ADDRESS REDACTED                                                                                                                      TRADE                                                                                                  $79.00
      3.252   JONES, STEVE                                                                               ADDRESS REDACTED                                                                                                                      TRADE                                                                                               $4,412.56
      3.253   JP MORGAN                                                                                  270 PARK AVENUE                                                                         NEW YORK            NY           10017-2070   INTEREST RATE SWAP INTEREST PAYABLE                                                               $686,022.41
      3.254   KARNES ELECTRIC COOPERATIVE - PAYABLES                                                     PO BOX 7                                                                                KARNES CITY         TX           78118-0007   TRADE                                                                                                 $142.96
      3.255   KERRVILLE PUBLIC UTILITY BOARD                                                             PO BOX 294999                                                                           KERRVILLE           TX           78029-4999   PUCT TCOS PAYABLES                                                                                     $15.74
      3.256   KERRVILLE PUBLIC UTILITY BOARD                                                             PO BOX 294999                                                                           KERRVILLE           TX           78029-4999   TRADE                                                                                                   $7.87
      3.257   KEY CAPTURE ENERGY LLC                         418 BROADWAY                                3RD FL                                                                                  ALBANY              NY           12207        CUSTOMER ADVANCES FOR CONSTRUCTION                                                             $2,385,000.00
      3.258   KIMLEY-HORN AND ASSOCIATES, INC (ORDERS)       KIMLEY-HORN AND ASSOCIATES INC.             9300 WADE BLVD SUITE 320                                                                FRISCO              TX           75035        TRADE                                                                                              $12,751.42
      3.259   KNIGHTEN MACHINE & SERVICE (ODESSA) ORDE                                                   PO BOX 12587                                                                            ODESSA              TX           79768        TRADE                                                                                               $4,989.99
      3.260   KOCH ENERGY SERVICES, LLC.                                                                 20 GREENWAY PLAZA SUITE 800                                                             HOUSTON             TX           77046        NATURAL GAS                                                         X                          $3,214,675.00
      3.261   LAMAR COUNTY ELECTRIC COOP                                                                 PO BOX 580                                                                              PARIS               TX           75461-0580   PUCT TCOS PAYABLES                                                                                     $35.14
      3.262   LEON COUNTY TAX ASSESSOR/COLLECTOR             ROBIN SHAFER                                155 N. CASS, ANNEX 2, 2ND FLOOR                                                         CENTERVILLE         TX           75833        TRADE                                                                                              $74,858.27
      3.263   LONESTAR PHE SERVICES                                                                      435 CR 4841 STE 301                                                                     HASLET              TX           76052        TRADE                                                                                               $6,427.99
      3.264   LONESTAR TRANSMISSION                          C/O NEXTERA ENERGY TRANSMISSION             700 UNIVERSE BLVD                                                                       JUNO BEACH          FL           33408        PUCT TCOS PAYABLES                                                                                $618,449.35
      3.265   LOWER COLORADO RIVER AUTHORITY                                                             3700 LAKE AUSTIN BLVD.                                                                  AUSTIN              TX           78703        POWER                                                                                         $13,700,662.73
      3.266   LOWER COLORADO RIVER AUTHORITY                                                             3700 LAKE AUSTIN BLVD.                                                                  AUSTIN              TX           78703        PUCT TCOS PAYABLES                                                                             $4,043,745.48
      3.267   LOWER COLORADO RIVER AUTHORITY (301142)        ATTN: GENERAL COUNSEL                       3700 LAKE AUSTIN BOULEVARD                                                              AUSTIN              TX           78703        TRADE                                                                                               $3,600.00
      3.268   LUMEN (FKA) CENTURYLINK                        BUSINESS SERVICES                           PO BOX 52187                                                                            PHOENIX             AZ           85072-2187   TRADE                                                                                               $2,496.62
      3.269   LUMINANT ENERGY CO LLC                                                                     500 N AKAARD STREET LP-13                                                               DALLAS              TX           75201        TRADE                                                                                              $38,400.00
      3.270   LYNESS CONSTRUCTION LP (CLEBUR                 LYNESS CONSTRUCTION LP                      1501 S MAIN STREET B                                                                    CLEBURNE            TX           76033        TRADE                                                                                               $2,656.63
      3.271   LYNTEGAR ELECTRIC COOP                         AS AGENT FOR: LYNTEGAR ELECTRIC COOP        PO BOX 9898                                                                             AMARILLO            TX           79105-5898   PUCT TCOS PAYABLES                                                                                  $6,405.30
      3.272   M & S ENGINEERING                                                                          6477 FM 311                                                                             SPRING BRANCH       TX           78070        TRADE                                                                                               $5,760.00
      3.273   M.E.N.WATER SUPPLY CORPORATION                                                             PO BOX 3019                                                                             CORSICANA           TX           75151-3019   TRADE                                                                                                  $29.00
      3.274   M2 GLOBAL TECHNOLOGY, LTD.                                                                 5714 EPSILON                                                                            SAN ANTONIO         TX           78249        TRADE                                                                                              $11,453.00
      3.275   MACKAY COMM FKA GARDLINE COMM                                                              PO BOX 60925                                                                            CHARLOTTE           NC           28260        TRADE                                                                                                  $50.37
      3.276   MADDUX, SHANE A.                                                                           ADDRESS REDACTED                                                                                                                      TRADE                                                                                                 $130.00
      3.277   MALOUF ENGINEERING INT'L, INC.                                                             17950 PRESTON RD STE 720                                                                DALLAS              TX           75252-5635   TRADE                                                                                               $6,000.00
      3.278   MARSH, CHARLES                                                                             ADDRESS REDACTED                                                                                                                      TRADE                                                                                                 $130.00
      3.279   MASON CONSTRUCTION, LTD.                                                                   PO BOX 20057                                                                            BEAUMONT            TX           77720-0057   TRADE                                                                                              $15,852.23
      3.280   MASSEY PEST & TERMITE SERVICE (DALLAS)                                                     7101 JOHN CARPENTER FREEWAY                                                             DALLAS              TX           75247        TRADE                                                                                                 $800.00
      3.281   MATHESON TRIGAS (FT WORTH)                     MATHESON TRIGAS                             5932 S FREEWAY                                                                          FORT WORTH          TX           76134        TRADE                                                                                               $1,537.86
      3.282   MATHIS III, JACK C.                                                                        ADDRESS REDACTED                                                                                                                      TRADE                                                                                                   $9.83
      3.283   MATTHEWS, CHANEY                                                                           ADDRESS REDACTED                                                                                                                      TRADE                                                                                                 $130.00
      3.284   MCINTIRE, F.B., CRANES (ORDERS)                F.B. MCINTIRE EQUIPMENT INC                 3025 SOUTH CRAVENS RD                                                                   FORT WORTH          TX           76119        TRADE                                                                                               $1,050.00
      3.285   MD&A PARTS DIVISION-FMLY TURBO                 MD&A PARTS DIVISION                         767 PIERCE ROAD SUITE 2                                                                 CLIFTON PARK        NY           12065        TRADE                                                                                              $15,875.00
      3.286   MD&A PARTS DIVISION-FMLY TURBO PARTS           MD&A PARTS DIVISION                         767 PIERCE ROAD SUITE 2                                                                 CLIFTON PARK        NY           12065        TRADE                                                                                               $2,820.62
      3.287   MERCURIA ENERGY AMERICA INC.                   ATTN: MARK GREENBERG                        20 EAST GREENWAY PLAZA SUITE 650                                                        HOUSTON             TX           77046        NATURAL GAS                                                         X                         $60,852,086.63
      3.288   MERRILL LYNCH                                                                              20 E GREENWAY PLAZA 7TH FLOOR                                                           HOUSTON             TX           77046        POWER DERIVATIVES                                                                                 $254,271.00
      3.289   MERRILL LYNCH COMMODITIES, INC                 ATTN: CLIENT INTEGRATION & DOCUMENTATION    1133 AVENUE OF THE AMERICAS 42ND FLOOR                                                  NEW YORK            NY           10036        POWER                                                                                          $6,689,220.00
      3.290   MICA STEELWORKS, INC                                                                       4201 OLD DENTON RD                                                                      HALTOM CITY         TX           76117        TRADE                                                                                          $1,286,034.00
      3.291   MICHELS                                                                                    PO BOX 95                                                                               BROWNSVILLE         WI           53006-0095   TRADE                                                                                          $1,511,162.79
      3.292   MICRO MOTION                                                                               7070 WINCHESTER CIRCLE                                                                  BOULDER             CO           80301        TRADE                                                                                               $2,073.66
      3.293   MID SOUTH CONTRACTORS SUPPLY,                                                              434 ASHLEY STREET                                                                       RAYVILLE            LA           71269        TRADE                                                                                              $99,812.48
      3.294   MID-SOUTH                                      ATTN: KERRY KELTON                          7625 HIGHWAY 6 PO BOX 970                                                               NAVASOTA            TX           77868        MEMBER PREPAYMENTS                                                               YES           $7,003,615.40
      3.295   MID-SOUTH                                      ATTN: KERRY KELTON                          7625 HIGHWAY 6 PO BOX 970                                                               NAVASOTA            TX           77868        MEMBER REBATES                                                                   YES              $700,000.00
      3.296   MID-SOUTH SYNERGY-INV/VO/JE                                                                PO BOX 970                                                                              NAVASOTA            TX           77868-0970   TRADE                                                                                               $2,539.75
      3.297   MID-WEST INSTRUMENTS                                                                       6500 DOBRY DRIVE                                                                        STERLING HEIGHTS    MI           48314        TRADE                                                                                               $2,370.02
      3.298   MISO                                                                                       PO BOX 4202                                                                             CARMEL              IN           46082-4202   POWER                                                                                          $9,925,874.01
      3.299   MITCHELL, CANDICE S.                                                                       ADDRESS REDACTED                                                                                                                      TRADE                                                                                                  $21.36
      3.300   MITCHELL1 (ORDERS)                             MITCHELL REPAIR INFORMATION COMPANYLLC      25029 NETWORK PLACE                                                                     CHICAGO             IL           60673-1250   TRADE                                                                                                 $318.00
      3.301   MITSUBISHI ELECTRIC (ORDERS)                   C/O KEASLER ASSOC. INC.                     530 KEYSTONE DRIVE                                                                      WARRENDALE          PA           15086        TRADE                                                                                              $46,619.00
      3.302   MORGAN STANLEY                                 MORGAN STANLEY CAPITAL GROUP INC            1585 BROADWAY                                                                           NEW YORK            NY           10036        INTEREST RATE SWAP INTEREST PAYABLE                                                            $1,160,902.10
      3.303   MORGAN STANLEY CAPITAL GROUP I                 COMMODITIES 4TH FLOOR                       1585 BROADWAY                                                                           NEW YORK            NY           10036        POWER                                                                                          $1,700,000.00
      3.304   MORGAN STANLEY CAPITAL GROUP INC.              TRANSACTION MANAGEMENT GROUP                1585 BROADWAY 10TH FLOOR                                                                NEW YORK            NY           10036-8293   INTEREST RATE SWAP                                     X                                         Unliquidated
      3.305   MOTION INDUSTRIES, INC. (FT WO                                                             2589 NE 33RD STREET                                                                     FORT WORTH          TX           76111        TRADE                                                                                                  $41.51
      3.306   MOWING & SOWING LAWN CARE                                                                  213 WEST WILLINGHAM                                                                     CLEBURNE            TX           76033        TRADE                                                                                               $2,300.00
      3.307   MP2 ENERGY TEXAS                                                                           PO BOX 733560                                                                           DALLAS              TX           75373-3560   TRADE                                                                                              $10,802.34
      3.308   MUFG                                           ATTN: MR. SEAN SANTOS OR MONIQUE MORREALE   GLOBAL TRADE FINANCE                         1251 AVENUE OF THE AMERICAS                NEW YORK            NY           10020        INTEREST RATE SWAP INTEREST PAYABLE                                                            $1,162,027.62

      3.309   NATIONAL RENEWABLES COOPERATIVE ORG                                                        4140 WEST 99TH STREET                                                                   CARMEL              IN           46032        TRADE                                                                                              $9,025.00
      3.310   NAVARRO                                        ATTN: BILLY JONES                           3800 W. HIGHWAY 22                                                                      CORSICANA           TX           75110        MEMBER PREPAYMENTS                                                               YES           $4,482,694.59
      3.311   NAVARRO                                        ATTN: BILLY JONES                           3800 W. HIGHWAY 22                                                                      CORSICANA           TX           75110        MEMBER REBATES                                                                   YES           $1,213,539.24
      3.312   NAVARRO COUNTY ELECTRIC-INV/VO                 ATTN: BILLY JONES                           PO DRAWER 616                                                                           CORSICANA           TX           75151-0616   TRADE                                                                                              $1,968.97
      3.313   NAVASOTA                                       ATTN: STEVE JONES                           2281 E. US HWY 79 PO BOX 848                                                            FRANKLIN            TX           77856        MEMBER PREPAYMENTS                                                               YES             $200,867.90
      3.314   NEW VENTURE LEASING                                                                        PO BOX 278                                                                              SUNSET              TX           76270        TRADE                                                                                              $2,600.00
      3.315   NEXTERA ENERGY                                                                             700 UNIVERSE BLVD                                                                       JUNO BEACH          FL           33408        POWER DERIVATIVES                                                                                $109,246.00
      3.316   NEXTERA ENERGY (FMR FPL)                                                                   700 UNIVERSE BLVD                                                                       JUNO BEACH          FL           33408        POWER                                                                                          $1,204,952.00
      3.317   NJR ENERGY SERVICES COMPANY                                                                1415 WYCKOFF ROAD                            PO BOX 1464                                WALL                NJ           07719        NATURAL GAS                                                         X                         $26,079,125.00
      3.318   NOELL, SCHUYLAR M.                                                                         ADDRESS REDACTED                                                                                                                      TRADE                                                                                                 $45.36
      3.319   NOLAN POWER GROUP LLC (DEER PARK) ORDERS       NOLAN POWER GROUP LLC                       207 DEERWOOD GLEN DR                                                                    DEER PARK           TX           77536        TRADE                                                                                             $27,369.44
      3.320   NORTH TEXAS TOLLWAY AUTHORITY                                                              PO BOX 660244                                                                           DALLAS              TX           75266-0244   TRADE                                                                                                 $77.75
      3.321   NORTH TEXAS TOLLWAY AUTHORITY (DALLAS)                                                     PO BOX 660244                                                                           DALLAS              TX           75266-0244   TRADE                                                                                                $500.46
      3.322   NORTHERN TOOL & EQUIPMENT CO. (ORDERS)         NORTHERN TOOL & EQUIPMENT CO.               PO BOX 1499                                                                             BURNSVILLE          MN           55337-0219   TRADE                                                                                              $2,156.34
      3.323   NORTHSTAR ENERGY SOLUTIONS, LL                                                             PO BOX 847154                                                                           DALLAS              TX           75284-7154   TRADE                                                                                            $298,044.50
      3.324   NORTHWEST LINEMAN COLLEGE                      POWER DELIVERY PROGRAM                      7600 S MERIDIAN RD                                                                      MERIDIAN            ID           83642        TRADE                                                                                              $1,836.00
      3.325   NRECA - ADM FEES                                                                           PO BOX 207442                                                                           DALLAS              TX           75320-7442   TRADE                                                                                              $3,722.93
      3.326   NRECA GR.INS/FX SP-BOX/798185 DO NOT CHG       COOPERATIVE ASSN                            PO BOX 207470                                                                           DALLAS              TX           75320-7470   TRADE                                                                                             $47,583.18




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                                                                                                                                       Creditors Who Have Non-Priority Unsecured Claims




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        ID                             Creditor's Name                     Address 1                                  Address 2                                        Address 3                   City         State        ZIP                   Basis for Claim                                            (Yes/No)     Total Claim
      3.327   NTH AMERICAN ENRGY SVC                                                                831 SPARKS DR                                                                         CLEBURNE         TX           76031         TRADE                                                                                      $146,210.13
      3.328   OBERLIN FILTER CO                                                                     827 SILVERNAIL ROAD                                                                   PEWAUKEE         WI           53072-5588    TRADE                                                                                       $47,317.00
      3.329   OIL FILTRATION SYSTEMS, LLC                                                           135 ENTERPRISE PKWY                                                                   BOERNE           TX           78006         TRADE                                                                                       $15,250.00
      3.330   OLAMETER                                                                              4325 CONCOURSE DR                                                                     ANN ARBOR        MI           48108         TRADE                                                                                        $7,572.50
      3.331   OMI CRANE SYSTEMS, INC.                                                               PO BOX 1719                                                                           ROCKWALL         TX           75087         TRADE                                                                                        $1,595.00
      3.332   ONCOR ELECTRIC DELIVERY - SHARYLAND        ATTN: BILL MOORSE CREDIT RISK MANAGER      1616 WOODALL RODGERS FWY 7A-02                                                        DALLAS           TX           75202-1234    PUCT TCOS PAYABLES                                                                      $1,818,361.22
      3.333   ONCOR ELECTRIC DELIVERY-TXU                ATTN: BILL MOORSE CREDIT RISK MANAGER      1616 WOODALL RODGERS FWY 7A-02                                                        DALLAS           TX           75202-1234    PUCT TCOS PAYABLES                                                                         $599,067.10
      3.334   OPEN SYSTEMS INTERNATIONAL INC (ORDERS)                                               4101 ARROWHEAD DRIVE                                                                  MEDINA           MN           55340-9649    TRADE                                                                                       $27,596.00
      3.335   OTC SERVICES (LOUISVILLE,OH)                                                          PO BOX 188                                                                            LOUISVILLE       OH           44641         TRADE                                                                                       $22,180.00
      3.336   OWEN, JEFFREY W.                                                                      ADDRESS REDACTED                                                                                                                  TRADE                                                                                           $95.00
      3.337   PACE ANALYTICAL SERVICES, INC.                                                        PO BOX 684056                                                                         CHICAGO          IL           60695-4056    TRADE                                                                                          $421.50
      3.338   PACE ANALYTICAL SERVICES, INC. (DALLAS)                                               400 W BETHANY DRIVE SUITE 190                                                         ALLEN            TX           75013         TRADE                                                                                        $1,030.70
      3.339   PALMER CONTRACTING LLC                                                                9000 BUCKINGHAM CT                                                                    WACO             TX           76712         TRADE                                                                                       $39,232.52
      3.340   PARCELS, VIRGIL W                                                                     ADDRESS REDACTED                                                                                                                  TRADE                                                                                          $130.00
      3.341   PASCHAL, BRODY                                                                        ADDRESS REDACTED                                                                                                                  TRADE                                                                                          $100.80
      3.342   PATTON ELECTRIC INC                                                                   PO BOX 696                                                                            LINCOLN          MT           59639         TRADE                                                                                        $8,685.00
      3.343   PC CONNECTION SALES CORP (ORDERS)          PC CONNECTION SALES CORP                   730 MILFORD RD                                                                        MERRIMACK        NH           03054-4631    TRADE                                                                                          $124.30
      3.344   PEERLESS MFG CO                                                                       14651 NORTH DALLAS PKWY SUITE 500                                                     DALLAS           TX           75254         TRADE                                                                                       $26,308.00
      3.345   PENNY WISE ENTERPRISES, INC.                                                          PO BOX 591                                                                            BRIDGEPORT       TX           76082         TRADE                                                                                        $2,833.00
      3.346   PENSKE TRUCK LEASING CO, LP                                                           PO BOX 802577                                                                         CHICAGO          IL           60680-2577    TRADE                                                                                           $72.74
      3.347   PENTEX                                                                                PO BOX 530                                                                            MUENSTER         TX           76252-0530    MEMBER PREPAYMENTS                                                        YES           $6,891,035.80
      3.348   PENTEX                                                                                PO BOX 530                                                                            MUENSTER         TX           76252-0530    MEMBER REBATES                                                            YES               $86,842.10
      3.349   PENTEX (FKA COOKE COUNTY ELEC                                                         PO BOX 530                                                                            MUENSTER         TX           76252-0530    TRADE                                                                                        $2,075.17
      3.350   PERRY OFFICE PLUS (TEMPLE)                                                            PO BOX 1200                                                                           TEMPLE           TX           76503         TRADE                                                                                          $330.71
      3.351   PIKE ELECTRIC (MEMPHIS,TN)                                                            PO BOX 746308                                                                         ATLANTA          GA           30374-6308    TRADE                                                                                   $2,556,980.44
      3.352   PIKE ELECTRIC, LLC (CREEDMOOR,                                                        100 PIKE WAY                                                                          MOUNT AIRY       NC           27030-8147    TRADE                                                                                       $93,055.58
      3.353   PORTILLO, JOSEPH C.                                                                   ADDRESS REDACTED                                                                                                                  TRADE                                                                                           $11.20
      3.354   POWER ENGINEERS                                                                       PO BOX 855321                                                                         MINNEAPOLIS      MN           55485-5321    TRADE                                                                                      $107,259.05
      3.355   POWERFLOW FLUID SYSTEMS, LLC.              POWERFLOW FLUID SYSTEMS LLC.               3775 MARQUIS DRIVE                                                                    GARLAND          TX           75042         TRADE                                                                                        $6,460.00
      3.356   POWERFLOW FLUID SYSTEMS, LLC. (ORDERS)     POWERFLOW FLUID SYSTEMS LLC.               3775 MARQUIS DRIVE                                                                    GARLAND          TX           75042         TRADE                                                                                          $253.99
      3.357   PREMIERE GLOBAL SERVICES                                                              PO BOX 404351                                                                         ATLANTA          GA           30384-3521    TRADE                                                                                          $694.26
      3.358   PRO SECURITY GROUP                                                                    PO BOX 868                                                                            LORENA           TX           76655         TRADE                                                                                        $8,048.88
      3.359   PROACTIVE CLEANING SOLUTIONS                                                          3401 CRICKET DRIVE                                                                    DENTON           TX           76207         TRADE                                                                                          $698.55
      3.360   PROENERGY SERVICES LLC                     PROENERGY SERVICES LLC                     2001 PROENERGY BLVD                                                                   SEDALIA          MO           65301         TRADE                                                                                       $64,494.36
      3.361   PROGRESSIVE WATER TREATMENT INC                                                       PO BOX 774                                                                            MCKINNEY         TX           75070         TRADE                                                                                          $141.52
      3.362   PUMPS AND CONTROLS                                                                    PO BOX 150207                                                                         ARLINGTON        TX           76015         TRADE                                                                                          $547.63
      3.363   PURE SOLUTIONS WATER TREATMENT                                                        390 WILDWOOD CT                                                                       MANSFIELD        TX           76063         TRADE                                                                                        $6,658.80
      3.364   QEI LLC (FORMERLY CG AUTOMATION)           ACCOUNTS RECEIVABLE                        45 FADEM RD                                                                           SPRINGFIELD      NJ           07081         TRADE                                                                                        $7,810.00
      3.365   R & A HAULING                                                                         8151 SMITH DAIRY RD                                                                   BELTON           TX           76513-7384    TRADE                                                                                        $4,800.00
      3.366   RAIN FOR RENT                                                                         FILE 52541                                                                            LOS ANGELES      CA           90074-2541    TRADE                                                                                       $21,702.30
      3.367   RAWSON, INC. (PLANO) ORDERS                RAWSON INC.                                2600 TECHNOLOGY DR SUITE 800                                                          PLANO            TX           75074         TRADE                                                                                        $3,490.29
      3.368   RAYBURN COUNTRY                                                                       PO BOX 37                                                                             ROCKWALL         TX           75087-0037    PUCT TCOS PAYABLES                                                                           $1,995.37
      3.369   RED BALL OXYGEN/TECH GAS SERVI             RED BALL OXYGEN / TECHNICAL GAS SERVICES   609 N. MARKET STREET                                                                  SHREVEPORT       LA           71107         TRADE                                                                                          $344.26
      3.370   RED BALL OXYGEN/TECH GAS SERVICES (POS)    RED BALL OXYGEN / TECHNICAL GAS SERVICES   609 N. MARKET STREET                                                                  SHREVEPORT       LA           71107         TRADE                                                                                       $32,519.83
      3.371   REDDY ICE                                                                             PO BOX 730505                                                                         DALLAS           TX           75373         TRADE                                                                                          $388.80
      3.372   RELEVANT INDUSTRIAL, (QUOTES AND ORDERS)   LKCM DISTRIBUTION HOLDINGS                 9750 WEST SAM HOUSTON PKWY N. STE 190                                                 HOUSTON          TX           77064         TRADE                                                                                          $138.00
      3.373   RELIABILITY CONTROLS CORPORATION                                                      500 SPRING HILL DR. STE 230                                                           SPRING           TX           77386         TRADE                                                                                        $1,579.00
      3.374   RENTAL ONE (GRANBURY)                                                                 4413 E HIGHWAY 377                                                                    GRANBURY         TX           76049         TRADE                                                                                        $2,691.90
      3.375   REPUBLIC SERVICES                                                                     PO BOX 78829                                                                          PHOENIX          AZ           85062-8829    TRADE                                                                                       $16,142.45
      3.376   RICHARDS SUPPLY COMPANY (WACO)                                                        PO BOX 1878                                                                           WACO             TX           76703         TRADE                                                                                        $7,019.26
      3.377   RICHARDS, ANDREW                                                                      ADDRESS REDACTED                                                                                                                  TRADE                                                                                          $130.00
      3.378   RICOH USA, INC (DALLAS PO BOX 660342)                                                 PO BOX 660342                                                                         DALLAS           TX           75266-0342    TRADE                                                                                        $2,508.12
      3.379   RIO GRANDE ELECTRIC COOP                                                              PO BOX 1509                                                                           BRACKETTVILLE    TX           78832         PUCT TCOS PAYABLES                                                                              $29.96
      3.380   ROBERSON, KENNY R.                                                                    ADDRESS REDACTED                                                                                                                  TRADE                                                                                          $130.00
      3.381   ROCKBILL, INC.                                                                        13777 STAFFORD POINT DRIVE                                                            STAFFORD         TX           77477         TRADE                                                                                        $1,999.95
      3.382   ROSEMOUNT ANALYTICAL-LIQUID DIV (MN)       LIQUID DIVISION                            8200 MARKET BLVD                                                                      CHANHASSEN       MN           55317         TRADE                                                                                        $7,021.34
      3.383   ROYAL SWITCHGEAR MANUFACTURING (ORDERS)    ROYAL SWITCHGEAR MANUFACTURING CO.         209 CAMILLE COURT                                                                     PFLUGERVILLE     TX           78660         TRADE                                                                                        $1,260.00
      3.384   ROYAL TRUCK BODY                                                                      24200 S MAIN STREET                                                                   CARSON           CA           90745         TRADE                                                                                        $1,095.00
      3.385   RUCAS, JASON                                                                          ADDRESS REDACTED                                                                                                                  TRADE                                                                                           $44.80
      3.386   RURAL FRIENDS / ACRE                                                                  1122 COLORADO ST 24TH FLOOR                                                           AUSTIN           TX           78701         TRADE                                                                                          $379.00
      3.387   RW LONE STAR SECURITY, LLC                                                            2904-A SOUTH GENERAL BRUCE DR.                                                        TEMPLE           TX           76504         TRADE                                                                                          $160.00
      3.388   SAFETY-KLEEN CORPORATION                                                              6529 MIDWAY ROAD                                                                      FORT WORTH       TX           76117         TRADE                                                                                          $308.00
      3.389   SAFEWAY OIL RECOVERY LLC-USE 42696         SAFEWAY OIL RECOVERY LLC                   5501 PENNINGTON AVE                                                                   BALTIMORE        MD           21226         TRADE                                                                                           $75.00
      3.390   SAN ANTONIO CITY PUBLIC SERVICE            C/O CPS ENERGY - BANKRUPTCY SECTION        500 MCCULLOUGH, MAIL DROP 110910                                                      SAN ANTONIO      TX           78215         PUCT TCOS PAYABLES                                                                         $285,005.52
      3.391   SAN BERNARD ELECTRIC COOP                                                             PO BOX 158                                                                            BELLVILLE        TX           77418-0158    PUCT TCOS PAYABLES                                                                             $386.08
      3.392   SAN MIGUEL ELECTRIC COOP                                                              PO BOX 280                                                                            JOURDANTON       TX           78026         PUCT TCOS PAYABLES                                                                          $11,554.34
      3.393   SANCHEM, INC. (ORDERS)                     SANCHEM INC.                               1600 SOUTH CANAL ST.                                                                  CHICAGO          IL           60616         TRADE                                                                                          $177.60
      3.394   SANDY CREEK ENERGY ASSOCIATES,             C/O LS POWER DEVELOPMENT LLC               TWO TOWER CENTER 11TH FLOOR                                                           EAST BRUNSWICK   NJ           08816         POWER                                                                                   $8,573,687.89
      3.395   SAUNDERS, WALSH & BEARD                    CRAIG RANCH PROFESSIONAL PLAZA             6850 TPC DRIVE SUITE 210                                                              MCKINNEY         TX           75070         TRADE                                                                                          $565.00
      3.396   SEGREST & SEGREST                                                                     28015 WEST HIGHWAY 84                                                                 MCGREGOR         TX           76657         TRADE                                                                                        $5,000.00
      3.397   SENTRY EQUIPMENT CORPORATION (ORDERS)      SENTRY EQUIPMENT CORPORATION               966 BLUE RIBBON CIRCLE NORTH                                                          OCONOMOWOC       WI           53066         TRADE                                                                                        $6,598.68
      3.398   SERVICE PIPELINE COMPANY                                                                                                                                                                                                TRADE                                                                                          $210.58
      3.399   SETON IDENTIFICATION PRODUCTS (ORDERS)     SETON IDENTIFICATION PRODUCTS              PO BOX 819                                                                            BRANFORD         CT           06405-0819    TRADE                                                                                        $8,609.90
      3.400   SETPOINT INTEGRATED SOLUTIONS (KILGORE,T                                              3100 INDUSTRIAL BLVD                                                                  KILGORE          TX           75662         TRADE                                                                                        $2,174.00
      3.401   SEYMOUR, CITY OF                                                                      PO BOX 31                                                                             SEYMOUR          TX           76380         TRADE                                                                                          $147.80
      3.402   SHARYLAND UTILITIES                        ATTN: TCOS                                 1807 ROSS AVENUE SUITE 460                                                            DALLAS           TX           75201         PUCT TCOS PAYABLES                                                                         $299,871.64
      3.403   SHARYLAND UTILITIES, L.P.                  ATTN: TCOS                                 1807 ROSS AVENUE SUITE 460                                                            DALLAS           TX           75201         TRADE                                                                                      $153,853.24
      3.404   SHELL ENERGY                                                                          1000 MAIN ST LEVEL 12                                                                 HOUSTON          TX           77002         POWER DERIVATIVES                                                                          $775,176.00
      3.405   SHELL ENERGY (FORMERLY CORAL P                                                        PO BOX 201730                                                                         HOUSTON          TX           77216-1730    POWER                                                                                  $38,722,724.00
      3.406   SHERMCO INDUSTRIES, INC. (IRVI                                                        2425 E PIONEER DR                                                                     IRVING           TX           75061         TRADE                                                                                        $4,944.00
      3.407   SHERMCO INDUSTRIES, INC. (IRVING,TX)                                                  2425 E PIONEER DR                                                                     IRVING           TX           75061         TRADE                                                                                        $2,482.00
      3.408   SHRIEVE CHEMICAL COMPANY (REMI                                                        PO BOX 671515                                                                         DALLAS           TX           75267-1515    TRADE                                                                                        $3,685.52
      3.409   SHRIEVE CHEMICAL COMPANY (WOODLANDS)       SHRIEVE CHEMICAL COMPANY                   1442 LAKE FRONT CIR                          STE 500                                  THE WOODLANDS    TX           77380-3634    TRADE                                                                                        $6,978.10
      3.410   SIEMENS ENERGY INC--REMIT CH10                                                        DEPT CH10169                                                                          PALATINE         IL           60055-0169    TRADE                                                                                      $438,244.75
      3.411   SIEMENS ENERGY, INC (IRVING) M                                                        8600 N ROYAL LANE                                                                     IRVING           TX           75063         TRADE                                                                                      $750,000.00
      3.412   SIEMENS ENERGY, INC (IRVING) MIKE FURROW                                              8600 N ROYAL LANE                                                                     IRVING           TX           75063         TRADE                                                                                       $22,879.50
      3.413   SIEMENS ENERGY, INC. (ORLANDO,             C\O LEN T. DELONEY CO. LLC                 4400 ALAFAYA TRAIL                                                                    ORLANDO          FL           32826-2399    TRADE                                                                                           $75.23
      3.414   SIEMENS ENERGY, INC. (ORLANDO,FL) ORDERS   C\O LEN T. DELONEY CO. LLC                 4400 ALAFAYA TRAIL                                                                    ORLANDO          FL           32826-2399    TRADE                                                                                          $172.29
      3.415   SIEMENS ENERGY, INC.(C/ODELONEY >69KV)     C/O LEN T. DELONEY CO. LLC                 120 BRIARMEADOW DRIVE                                                                 LONGVIEW         TX           75604         TRADE                                                                                      $125,991.00
      3.416   SIMPSON, PETER G.                                                                     ADDRESS REDACTED                                                                                                                  TRADE                                                                                          $500.00
      3.417   SKYHAWK CHEMICALS, INC (HOUSTO                                                        701 N POST OAK RD SUITE 540                                                           HOUSTON          TX           77024         TRADE                                                                                        $3,749.22
      3.418   SKYHAWK CHEMICALS, INC (HOUSTON)                                                      701 N POST OAK RD SUITE 540                                                           HOUSTON          TX           77024         TRADE                                                                                       $20,700.66
      3.419   SOLBERG MANUFACTURING, INC. (ORDERS)       SOLBERG MANUFACTURING INC.                 1151-T WEST ARDMORE AVE                                                               ITASCA           IL           60143-1387    TRADE                                                                                          $591.00
      3.420   SOUTH PLAINS                                                                          PO BOX 1830                                                                           LUBBOCK          TX           79408         MEMBER REBATES                                                            YES           $1,384,632.04
      3.421   SOUTH PLAINS ELECTRIC COOPERATIVE                                                     PO BOX 1830                                                                           LUBBOCK          TX           79408         MEMBER - TRADE                                                                          $7,512,373.31
      3.422   SOUTH TEXAS ELECTRIC COOP                                                             PO BOX 119                                                                            NURSERY          TX           77976-0119    PUCT TCOS PAYABLES                                                                         $261,973.42
      3.423   SOUTH TEXAS ELECTRIC COOPERATI                                                        PO BOX 119                                                                            NURSERY          TX           77976-0119    TRADE                                                                                        $1,297.50
      3.424   SOUTHLAKE, CITY OF                         UTILITY BILLING DEPARTMENT                 1400 MAIN ST. SUITE 200                                                               SOUTHLAKE        TX           76092         TRADE                                                                                          $193.35
      3.425   SOUTHLAND ELECTRIC SUPPLY                                                             147 N. MAIN                                                                           BURLINGTON       NC           27216         TRADE                                                                                        $1,354.00
      3.426   SOUTHWEST TEXAS ELECTRIC COOP              AS AGENT FOR: SOUTHWEST TEXAS ELECTRIC     PO BOX 9898                                                                           AMARILLO         TX           79105-5898    PUCT TCOS PAYABLES                                                                             $535.98
      3.427   SOUTHWESTERN POWER ADMIN                   ADMINISTRATOR                              1 WEST THIRD STREET                                                                   TULSA            OK           74103-3519    TRADE                                                                                      $418,739.88
      3.428   SPX COMPONENT GROUP                                                                   9011 GOVERNORS ROW                                                                    DALLAS           TX           75247- 3709   TRADE                                                                                        $4,653.42
      3.429   STEAGALL OIL CO OF TEXAS LTD (             STEAGALL OIL CO OF TEXAS LTD               3000 N SYLVANIA AVE                                                                   FORT WORTH       TX           76111-3012    TRADE                                                                                        $5,024.67
      3.430   STEWART STAINLESS FABRICATING                                                         118 NEW DALLAS HWY                                                                    WACO             TX           76705         TRADE                                                                                        $4,921.00
      3.431   STODDARD SILENCERS                                                                    1017 PROGRESS DRIVE                                                                   GRAYSLAKE        IL           60030         TRADE                                                                                        $2,635.00
      3.432   STONE, ALAN D.                                                                        ADDRESS REDACTED                                                                                                                  TRADE                                                                                          $440.40
      3.433   SUDDENLINK                                                                            902 S CLACK ST                                                                        ABILENE          TX           79605         TRADE                                                                                           $94.10
      3.434   SULZER PUMP SERVICES (US) INC              SULZER PUMP SERVICES (US) INC              1255 ENCLAVE PKWY SUITE 300                                                           HOUSTON          TX           77077-2767    TRADE                                                                                       $28,396.48
      3.435   SUN COAST RESOURCES, IN                                                               6405 CAVALCADE ST,                           BLDG. 1                                  HOUSTON          TX           77026         TRADE                                                                                   $1,525,000.00
      3.436   SUN COAST RESOURCES, INC.                                                             6405 CAVALCADE ST                            BULIDING 1                               HOUSTON          TX           77026         TRADE                                                                                       $14,131.39




In re: Brazos Electric Power Cooperative, Inc.
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                                                                                                                                 27             SCHEDULE F ATTACHMENT
                                                                                                                                      Creditors Who Have Non-Priority Unsecured Claims




                                                                                                                                                                                                                                                                                       Unliquidated
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                                                                                                                                                                                                                                                                                                                 Is the Claim




                                                                                                                                                                                                                                                                                                      Disputed
                                                                                                                                                                                                                                                                                                                  Subject to
                                                                                                                                                                                                                                                                                                                    Offset?
        ID                            Creditor's Name                      Address 1                                  Address 2                                       Address 3                   City        State        ZIP                    Basis for Claim                                                  (Yes/No)      Total Claim
      3.437   SUNBELT RENTALS (BURLESON)                                                           400 NE WILSHIRE BLVD                                                                  BURLESON        TX           76028         TRADE                                                                                                $3,299.51
      3.438   SUNBELT SUPPLY COMPANY (LONGVI                                                       1502 E WHALEY ST                                                                      LONGVIEW        TX           75601         TRADE                                                                                               $10,797.00
      3.439   SUNBELT SUPPLY COMPANY (LONGVIEW) ORDERS                                             1502 E WHALEY ST                                                                      LONGVIEW        TX           75601         TRADE                                                                                                $2,352.00
      3.440   SUNSOURCE - AIR DRECO (HOUSTON)            SUNSOURCE - AIR DRECO                     1833 JOHANNA                                                                          HOUSTON         TX           77055         TRADE                                                                                                $3,558.15
      3.441   TALLEY COMMUNICATIONS (TX) QU              TALLEY COMMUNICATIONS                     500 TITTLE DRIVE                                                                      LEWISVILLE      TX           75056         TRADE                                                                                                $1,904.70
      3.442   TALLEY COMMUNICATIONS (TX) QUOTE/ORDER     TALLEY COMMUNICATIONS                     500 TITTLE DRIVE                                                                      LEWISVILLE      TX           75056         TRADE                                                                                               $15,233.65
      3.443   TARRANT REGIONAL WATER DISTRIC             ATTN: STEVE CHRISTIAN                     800 EAST NORTHSIDE DRIVE                                                              FORT WORTH      TX           76102-1097    TRADE                                                                                              $107,959.11
      3.444   TECHLINE, INC.- FT WORTH (ORDE                                                       5401 MARTIN ST                                                                        FORT WORTH      TX           76119         TRADE                                                                                                $8,178.42
      3.445   TECHLINE, INC.- FT WORTH (ORDERS/QUOTE)                                              5401 MARTIN ST                                                                        FORT WORTH      TX           76119         TRADE                                                                                              $841,851.04
      3.446   TECHSTAR (ORDERS)                                                                    802 WEST 13TH STREET                                                                  DEER PARK       TX           77536         TRADE                                                                                                $2,561.12
      3.447   TELEXPRESS                                                                           406 INTERSTATE DR                                                                     ARCHDALE        NC           27263         TRADE                                                                                                $9,117.75
      3.448   TEMTEX TEMPERATURE SYSTEMS, INC.                                                     19053 US HIGHWAY 82 W                                                                 SHERMAN         TX           75092         TRADE                                                                                                  $405.67
      3.449   TENASKA MARKETING VENTURES (CO                                                       11718 NICHOLAS ST                                                                     OMAHA           NE           68154         NATURAL GAS                                                         X                          $30,081,550.00
      3.450   TENASKA POWER SERVICES CO- REM             ATTN: NORMA R. IACOVO, VICE PRESIDENT &   300 EAST JOHN CARPENTER FREEWAY              #1100                                    IRVING          TX           75062-2727    POWER                                                                                          $84,090,140.38
                                                         GENERAL COUNSEL
      3.451   TEREX UTILITIES (SAN ANTONIO)                                                        142 GEMBLER ROAD                                                                      SAN ANTONIO     TX           78219         TRADE                                                                                                $6,009.99
      3.452   TEXAS ELECTRIC COOPERATIVE (GE             GE-PROLEC                                 1900 NORTH TRINITY                                                                    DECATUR         TX           76234         TRADE                                                                                              $562,500.00
      3.453   TEXAS ELECTRIC COOPERATIVE (P.DOHERTY)     TEC UTILITY SUPPLY & SERVICE              1900 N TRINITY                                                                        DECATUR         TX           76234         TRADE                                                                                                $3,094.80
      3.454   TEXAS ELECTRIC COOPERATIVE (RE                                                       PO BOX 201338                                                                         DALLAS          TX           75320-1338    TRADE                                                                                              $132,986.09
      3.455   TEXAS ELECTRIC COOPERATIVE (REMIT)                                                   PO BOX 201338                                                                         DALLAS          TX           75320-1338    TRADE                                                                                                $1,290.00
      3.456   TEXAS EXCAVATION SAFETY SYSTEM                                                       PO BOX 678058                                                                         DALLAS          TX           75267-8058    TRADE                                                                                                   $13.30
      3.457   TEXAS EXPRESS PIPELINE LLC                                                           PO BOX 4324                                                                           HOUSTON         TX           77210-4324    TRADE                                                                                               $22,563.44
      3.458   TEXAS LAND SERVICES                                                                  4862 PEAK RD                                                                          GRANBURY        TX           76048         TRADE                                                                                                $9,525.00
      3.459   TEXAS MUNICIPAL POWER AGENCY               ATTN: ACCOUNTS PAYABLE                    PO BOX 7000                                                                           BRYAN           TX           77805-7000    PUCT TCOS PAYABLES                                                                                 $245,430.26
      3.460   TEXAS NEW MEXICO POWER                     DIVISION ACOUNTING                        4201 EDITH BLVD NE MS ESO1                                                            ALBUQUERQUE     NM           87107         TRADE                                                                                               $10,294.93
      3.461   TEXAS PEST ELIMINATION SERVICES, LLC                                                 700 HARDWOOD ROAD G-5                                                                 HURST           TX           76054         TRADE                                                                                                $1,991.00
      3.462   TEXAS-NEW MEXICO POWER CO                                                            PO BOX 902                                                                            ALBUQUERQUE     NM           87103-0902    TRADE                                                                                               $10,281.50
      3.463   TEXAS-NEW MEXICO POWER COMPANY                                                       PO BOX 902                                                                            ALBUQUERQUE     NM           87103-0902    PUCT TCOS PAYABLES                                                                                  $63,930.08
      3.464   THERMA-ICE/ENDERBY GAS, INC.                                                         PO BOX 278                                                                            KRUM            TX           76249         TRADE                                                                                                  $808.65
      3.465   THERMO FLUIDS (CROWLEY,TX)                                                           PO BOX 734867                                                                         DALLAS          TX           75373-4867    TRADE                                                                                                $1,746.49
      3.466   THYSSENKRUPP ELEVATOR CORP (FO                                                       3100 INTERSTATE NORTH CIR STE 500                                                     ATLANTA         GA           30339-2227    TRADE                                                                                               $11,998.10
      3.467   THYSSENKRUPP ELEVATOR-REMIT-AT                                                       PO BOX 3796                                                                           CAROL STREAM    IL           60132-3796    TRADE                                                                                                $1,236.71
      3.468   TJ/H2B ANALYTICAL SERVICES (LOUISIANA)OR                                             3123 FITE CIRCLE SUITE 105                                                            SACRAMENTO      CA           95827         TRADE                                                                                                  $285.00
      3.469   TORCUP, INC.                                                                         1025 CONROY PLACE                                                                     EASTON          PA           18040         TRADE                                                                                                  $763.04
      3.470   TOTAL GAS & POWER NORTH AMERIC                                                       800 GESSNER SUITE 700                                                                 HOUSTON         TX           77024         NATURAL GAS                                                         X                            $5,344,400.00
      3.471   TRI-COUNTY                                 ATTN: DARRYL SCHRIVER                     600 N.W. PARKWAY                                                                      AZLE            TX           76020         MEMBER REBATES                                                                   YES             $7,138,936.03
      3.472   TRI-COUNTY                                 ATTN: DARRYL SCHRIVER                     600 N.W. PARKWAY                                                                      AZLE            TX           76020         MEMBER PREPAYMENTS                                                               YES                     $1.61
      3.473   TRI-COUNTY ELECTRIC COOP-INV/V                                                       PO BOX 961032                                                                         FORT WORTH      TX           76161-0032    TRADE                                                                                                  $951.71
      3.474   TRINITI CONSULTING LLC                                                               805 PEACHTREE STREET NE #612                                                          ATLANTA         GA           30308         TRADE                                                                                               $85,700.00
      3.475   TRINITY VALLEY ELECTRIC COOP                                                         PO BOX 888                                                                            KAUFMAN         TX           75142         PUCT TCOS PAYABLES                                                                                   $6,037.84
      3.476   TRIPLE J PAPER & SUPPLY                                                              PO BOX 702                                                                            MINERAL WELLS   TX           76067         TRADE                                                                                                $1,018.60
      3.477   TRUAX, LARAMIE                                                                       ADDRESS REDACTED                                                                                                                 TRADE                                                                                                  $130.00
      3.478   TXU ELECTRIC-PO BOX 100001-REM                                                       PO BOX 100001                                                                         DALLAS          TX           75310         TRADE                                                                                                $3,582.57
      3.479   TXU ENERGY-650638-POWER (ALLBI                                                       PO BOX 650638                                                                         DALLAS          TX           75265-0638    TRADE                                                                                                $1,359.49
      3.480   TXU ENERGY-650638-POWER (ALLBILLS)                                                   PO BOX 650638                                                                         DALLAS          TX           75265-0638    TRADE                                                                                                  $287.04
      3.481   TXU TRANSMISSION DIVISION--910             C/O ONCOR ELECTRIC DELIVERY COMPANY LLC   ATTN: BILL MOORSE CREDIT RISK MANAGER        1616 WOODALL RODGERS, FWY 7A-02          DALLAS          TX           75202-1234    TRADE                                                                                               $20,660.64
      3.482   TXU TRANSMISSION DIVISION--910202          C/O ONCOR ELECTRIC DELIVERY COMPANY LLC   ATTN: BILL MOORSE CREDIT RISK MANAGER        1616 WOODALL RODGERS, FWY 7A-02          DALLAS          TX           75202-1234    TRADE                                                                                               $14,325.14
      3.483   UNITED COOP SERV.                                                                    PO BOX 290                                                                            STEPHENVILLE    TX           76401-0290    MEMBER PREPAYMENTS                                                               YES            $14,552,122.40
      3.484   UNITED COOP SERV.                                                                    PO BOX 290                                                                            STEPHENVILLE    TX           76401-0290    MEMBER REBATES                                                                   YES             $8,872,259.41
      3.485   UNITED COOPERATIVE SERVICES                                                          PO BOX 290                                                                            STEPHENVILLE    TX           76401-0290    TRADE                                                                                                $6,300.68
      3.486   UNITED COOPERATIVE SERVICES (B                                                       PO BOX 961079                                                                         FORT WORTH      TX           76161-0079    TRADE                                                                                                $4,627.27
      3.487   UNITED RENTALS (WEATHERFORD)                                                         2201 TIN TOP RD                                                                       WEATHERFORD     TX           76086         TRADE                                                                                                $2,752.51
      3.488   UNITED RENTALS NORTH AMERICA, INC (REMI)                                             PO BOX 840514                                                                         DALLAS          TX           75284-0514    TRADE                                                                                                  $200.00
      3.489   UNITED SITE SERVICES - REMIT                                                         PO BOX 660475                                                                         DALLAS          TX           75266-0475    TRADE                                                                                                  $537.92
      3.490   UNITED TELEPHONE CO OF TEXAS-3             CENTURYLINK - ACCESS BILLING CABS         2 TOWER SOUTH PO BOX 4648                                                             MONROE          LA           71211-46468   TRADE                                                                                                   $31.85
      3.491   UNITED TELEPHONE CO OF TEXAS-36            CENTURYLINK - ACCESS BILLING CABS         2 TOWER SOUTH PO BOX 4648                                                             MONROE          LA           71211-46468   TRADE                                                                                                  $924.63
      3.492   UNIVAR USA INC (DALLAS)                    UNIVAR USA INC                            10889 BEKAY STREET                                                                    DALLAS          TX           75238         TRADE                                                                                                $3,843.79
      3.493   UNIVERSAL ANALYZERS INC                                                              LOCKBOX # 074541                                                                      LOS ANGELES     CA           90084-4541    TRADE                                                                                                  $323.52
      3.494   UPRIGHT INDUSTRIAL GROUP, LLC                                                        4228 KELLER HICKS RD                                                                  FORT WORTH      TX           76244         TRADE                                                                                                $7,947.00
      3.495   UPS (REMIT)                                                                          PO BOX 650116                                                                         DALLAS          TX           75265-0116    TRADE                                                                                                  $567.48
      3.496   UTC UTILITIES TECHNOLOGY COUNCIL                                                     PO BOX 79358                                                                          BALTIMORE       MD           21279         TRADE                                                                                                  $245.00
      3.497   VECTOR CONTROLS LLC                                                                  PO BOX 732145                                                                         DALLAS          TX           75373-2145    TRADE                                                                                                $1,184.83
      3.498   VINSON PROCESS CONTROLS (QUOTE             VINSON PROCESS CONTROLS                   2747 HIGHPOINT OAKS DR                                                                LEWISVILLE      TX           75067         TRADE                                                                                                $1,073.25
      3.499   VINSON PROCESS CONTROLS (QUOTES/ORDERS)    VINSON PROCESS CONTROLS                   2747 HIGHPOINT OAKS DR                                                                LEWISVILLE      TX           75067         TRADE                                                                                               $10,364.52
      3.500   WACHOVIA                                                                             PO BOX 751737                                                                         CHARLOTTE       NC           28275-1737    INTEREST RATE SWAP INTEREST PAYABLE                                                                $584,207.68
      3.501   WALKER & ASSOCIATES, INC. (QUOTES)         DEPT 720078                               PO BOX 1335                                                                           CHARLOTTE       NC           28201-1335    TRADE                                                                                               $67,870.03
      3.502   WALNUT CREEK SPECIAL UTILITY D                                                       PO BOX 657                                                                            SPRINGTOWN      TX           76082         TRADE                                                                                               $13,725.78
      3.503   WARREN JR, WILLIAM L.                                                                ADDRESS REDACTED                                                                                                                 TRADE                                                                                                  $130.00
      3.504   WATSON, CODY W.                                                                      ADDRESS REDACTED                                                                                                                 TRADE                                                                                                  $100.00
      3.505   WAYNE ENTERPRISES,INC                                                                PO BOX 650998                                                                         DALLAS          TX           75265-0998    TRADE                                                                                               $14,787.57
      3.506   WEATHERFORD, CITY OF-INV/VO/JE             ATTN: FINANCE DEPT                        PO BOX 255                                                                            WEATHERFORD     TX           76086-0255    TRADE                                                                                                  $219.11
      3.507   WELLS FARGO BANK N.A.                                                                45 FREMONT STREET 30TH FLOOR                                                          SAN FRANCISCO   CA           94105         INTEREST RATE SWAP                                     X                                          Unliquidated
      3.508   WELLS FARGO BANK, NATIONAL ASS                                                       201 S COLLEGE ST                             COLL MGMT - D1100-060                    CHARLOTTE       NC           28244-0002    TRADE                                                                                              $131,546.56
      3.509   WESCO DISTRIBUTION, INC(LAFAYETTE) ORDER   WESCO DISTRIBUTION INC.                   200 MATRIX LOOP                                                                       LAFAYETTE       LA           70507         TRADE                                                                                               $24,960.00
      3.510   WEST TEXAS UTILITIES -13564 (2                                                       PO BOX 21937                                                                          TULSA           OK           74121-1937    TRADE                                                                                                  $186.57
      3.511   WESTAIR GASES & EQUIPMENT (PAS                                                       PO BOX 101420                                                                         PASADENA        CA           91189-1420    TRADE                                                                                                  $897.00
      3.512   WESTAIR GASES & EQUIPMENT INC (SPRINGTOW   WESTAIR GASES & EQUIPMENT INC             200 E 1ST STREET                                                                      SPRINGTOWN      TX           76082         TRADE                                                                                                $2,660.22
      3.513   WESTRENTALS                                                                          PO BOX 557                                                                            WEST            TX           76691         TRADE                                                                                                $4,860.01
      3.514   WIND ENERGY                                                                          PO BOX 732234                                                                         DALLAS          TX           75373-2234    PUCT TCOS PAYABLES                                                                                 $828,862.38
      3.515   WINDSTREAM COMMUNICATIONS (CAB             C/O BANK OF AMERICA NA                    ATTN: CABS                                   PO BOX 60549                             ST LOUIS        MO           63160-0549    TRADE                                                                                                  $115.71
      3.516   WINDSTREAM COMMUNICATIONS SW-9001908                                                 PO BOX 9001908                                                                        LOUISVILLE      KY           40290-1908    TRADE                                                                                                  $647.08
      3.517   WINDSTREAM COMMUNICATIONS-9001908-TEXAS                                              PO BOX 9001908                                                                        LOUISVILLE      KY           40290-1908    TRADE                                                                                                   $62.01
      3.518   WISE                                       ATTN: RAYCE CANTWELL                      1900 N. TRINITY ST. PO BOX 269                                                        DECATUR         TX           76234         MEMBER REBATES                                                                   YES             $1,685,187.94
      3.519   WISE                                       ATTN: RAYCE CANTWELL                      1900 N. TRINITY ST. PO BOX 269                                                        DECATUR         TX           76234         MEMBER PREPAYMENTS                                                               YES                 $5,203.20
      3.520   WISE ELECTRIC COOPERATIVE-INV/             ATTN: RAYCE CANTWELL                      1900 N TRINITY PO BOX 269                                                             DECATUR         TX           76234-0269    TRADE                                                                                               $19,112.02
      3.521   WISE ELECTRIC COOPERATIVE-INV/VO/JE                                                  1900 N TRINITY                                                                        DECATUR         TX           76234-0269    TRADE                                                                                                  $640.75
      3.522   WISE/CHEM SAFE PEST CONTROL (G                                                       PO BOX 2427                                                                           GRANBURY        TX           76048         TRADE                                                                                                  $375.00
      3.523   WOOD COUNTY                                                                          PO BOX 1827                                                                           QUITMAN         TX           75783         PUCT TCOS PAYABLES                                                                                   $1,070.26
      3.524   WORSHAM-STEED GAS STORAGE, LP                                                        5847 SAN FELIPE STE. 3050                                                             HOUSTON         TX           77057         TRADE                                                                                              $183,561.15
      3.525   XPO LOGISTICS-FORMERLY CON-WAY                                                       29559 NETWORK PLACE                                                                   CHICAGO         IL           60673-1559    TRADE                                                                                                  $613.80
      3.526   YOUNG, STEVE                                                                         ADDRESS REDACTED                                                                                                                 TRADE                                                                                                  $120.00
                                                                                                                                                                                                                                                                                                                        TOTAL:   $3,243,470,068.64




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  Fill in this information to identify the case:

  Debtor name: Brazos Electric Power Cooperative, Inc.

  United States Bankruptcy Court for the: Southern District of Texas
                                                                                                                                                      Check if this is an
  Case number: 21-30725
                                                                                                                                                      amended ling


O cial Form 206G
Schedule G: Executory Contracts and Unexpired Leases
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

Schedule G:    Executory Contracts and Unexpired Leases

1. Does the debtor have any executory contracts or unexpired leases?

   No. Check this box and le this form with the court with the debtor’s other schedules. There is nothing else to report on this form.

   Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (O cial Form 206A/B).

 2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with whom the debtor
                                                                                         has an executory contract or unexpired lease

2.1     State what the contract        See Attached Schedule G Exhibit
        or lease is for and the
        nature of the debtor’s
        interest
        State the term
        remaining
        List the contract number
        of any government
        contract
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                                                                                                                                                                          SCHEDULE G ATTACHMENT
                                                                                                                                                                     Executory Contracts and Unexpired Leases




           ID                      Description of Contract or Lease                Contract ID                              Notice Party's Name                                                    Attention                                             Address 1                                 Address 2                      City           State       ZIP
         2.001   NAESB Master Agreement                                             Unknown          ATMOS ENERGY MARKETING, LLC                                          Attn: Contract Administration                             11251 Northwest Freeway, Suite 400                                                     Houston          TX           77092
         2.002   Interruptible Natural Gas Transportation Agreement                 Unknown          Atmos Pipeline - Texas                                               Attn: Pipeline Marketing Administration                   5420 LBJ Freeway, Suite 1554                                                           Dallas           TX           75240
         2.003   ISDA Master Agreement                                              Unknown          Bank of America, N.A.                                                Attention: Swap Operations                                Sears Tower                                      233 South Wacker Drive, Suite 2800    Chicago          IL           60606

         2.004   ISDA Master Agreement                                              Unknown          Bank of Tokyo-Mitsubishi UFJ, Ltd. New York Branch                   Attn: Deputy Manager, Derivative Operations Department    Harborside Financial Center, Plaza III                                                 Jersey City      NJ           07311
         2.005   Wholesale Power Contract                                           Unknown          Bartlett Electric Cooperative, Inc.                                                                                            27492 State Highway 95                                                                 Bartlett         TX           76511

         2.006   Power Purchase Agreement                                          Unknown           Brazos Sandy Creek Electric Cooperative, Inc.                        Attention: Executive Vice President and General Manager   2404 LaSalle Ave                                                                       Waco             TX           76706
         2.007   EEI Master Agreement                                              Unknown           Calpine Energy Services, L.P.                                        Attn: Sr. Vice President, Sales & Marketing               700 Milam Street, Suite 800                                                            Houston          TX           77002
         2.008   EEI Master Agreement                                              CES1162           Calpine Energy Services, L.P.                                        Attn: Contract Administration                             717 Texas Avenue, Suite 1000                                                           Houston          TX           77002
         2.009   NAESB Master Agreement                                           Chesaem808         Chesapeake Energy Marketing, Inc.                                    Attn: Contract Administration                             P.O. Box 18496                                                                         Oklahoma City.   OK           73154-0496
         2.010   NAESB Master Agreement                                            Unknown           Cima Energy, LTD                                                     Attn: Gas Scheduling                                      1221 McKinney, Suite 4150                                                              Houston          TX           77010
         2.011   NAESB Master Agreement                                            Unknown           Cimarex Energy Services Inc.                                         Attn: Gas Marketing                                       15 East 5th Street, Suite 1000                                                         Tulsa            OK           74103
         2.012   EEI Master Agreement                                              Unknown           Citigroup Energy Inc.                                                Attn: Commodity Operations Group                          2800 Post Oak Blvd., Suite 500                                                         Houston          TX           77057
         2.013   EEI Agreement Guarantee                                           Unknown           Citigroup Global Markets Holdings Inc.                               Attention: Citi Treasury                                  388 Greenwich Street                                                                   New York         NY           10013
         2.014   Wholesale Power Contract                                          Unknown           Comanche Electric Cooperative, Inc.                                                                                            349 Industrial Blvd., P.O. Box 729                                                     Comanche         TX           76442
         2.015   NAESB Master Agreement                                            Unknown           Concord Energy LLC                                                   Attn: Contract Administration                             1401 17th St #1500                                                                     Denver           CO           80202
         2.016   NAESB Master Agreement                                            Unknown           ConocoPhillips Company                                               Attn: ConocoPhillips Gas & Power                          P.O. Box 2197                                                                          Houston          TX           77252-2197

         2.017   Wholesale Power Contract                                           Unknown          Cooke County Electric Cooperative Association, dba PenTex Energy                                                               11799 West U.S. Highway 82, P.O. Box 530                                               Muenster         TX           76252
         2.018   Wholesale Power Contract                                           Unknown          Denton County Electric Cooperative, Inc., dba CoServ Electric                                                                  7701 S. Stemmons                                                                       Corinth          TX           76210-1842
         2.019   NAESB Master Agreement                                             Unknown          Devon Gas Services, L.P.                                             Attn: Gas Marketing                                       20 North Broadway                                                                      Oklahoma City.   OK           73102-8296
         2.020   ISDA Master Agreement                                              Unknown          EDF Trading North America, LLC                                       Attention: Contracts Administration                       4700 West Sam Houston Parkway North, Suite 250                                         Houston          TX           77041
         2.021   Market Participant Agreement                                       Unknown          Electric Reliability Council of Texas, Inc.                          Attn: Legal Dept.                                         7620 Metro Center Drive                                                                Austin           TX           78744-1654
         2.022   Interruptible Intrastate Gas Transportation Agreement          149-11085-02-100     Energy Transfer Fuel, LP                                             Attn: Paul McPheeters                                     800 East Sonterra Blvd. Ste 400                                                        San Antonio      TX           78258
         2.023   Intrastate Natural Gas Transportation Service Agreement        149-11085-02-300     Energy Transfer Fuel, LP                                             Attn: Contract Administration                             800 East Sonterra Blvd. Ste 400                                                        San Antonio      TX           78258
         2.024   NAESB Master Agreement                                             Unknown          Enterprise Products Operating, LLC                                   Attn: Contract Administration                             P.O. Box 4324                                                                          Houston          TX           77210-4324
         2.025   NAESB Master Agreement                                              10205           ETC Marketing Ltd                                                    Attn: Janet Spears                                        800 E Sonterra Blvd. Ste 400                                                           San Antonio      TX           78258
         2.026   Wholesale Power Contract                                           Unknown          Fort Belknap Electric Cooperative, Inc.                                                                                        1302 W. Main St., P.O. Box 486                                                         Olney            TX           76364
         2.027   EEI Master Agreement                                                 1285           FPL Energy Power Marketing, Inc.                                     Attn: Contracts/Legal Department                          700 Universe Blvd.                               Mail Stop CTR/JB                      Juno Beach       FL           33408
         2.028   NAESB Master Agreement                                             Unknown          FREEPOINT COMMODITIES LLC                                            Attn: Legal Department                                    58 Commerce Road                                                                       Stamford         CT           06902
                                                                                                                                                                          Attn: Chief Financial Officer Attn: Director, Market
         2.029   EEI Master Agreement                                             Unknown            Golden Spread Electric Cooperative, Inc.                             Operations                                                905 South Fillmore, Suite 300                                                          Amarillo         TX           79101
         2.030   Wholesale Power Contract                                         Unknown            Hamilton County Electric Cooperative Association                                                                               420 North Rice, P.O. Box 753                                                           Hamilton         TX           76531
         2.031   Wholesale Power Contract                                         Unknown            Heart Of Texas Electric Coop                                         Attn: Brandon Young                                       1111 Johnson Drive PO Box 357                                                          Mcgregor         TX           76657
         2.032   Wholesale Power Contract                                         Unknown            HILCO Electric Cooperative, Inc.                                                                                               115 East Main Street, P.O. Box 127                                                     Itasca           TX           76055
         2.033   Service Agreement                                            HL-BRA-FSS-INTRA       Hill-Lake Gas Storage, LLC- Marketing                                Attn: Marketing                                           1201 Louisiana Street, Suite 700                                                       Houston          TX           77002
         2.034   NAESB Master Agreement                                           Unknown            IBERDROLA RENEWABLES, Inc.                                           Attn: Contract Administration                             1125 NW Couch, Suite 700                                                               Portland         OR           97209
         2.035   ISDA Master Agreement                                            Unknown            J. Aron & Company                                                    Attention: Swap Operations                                85 Broad Street                                                                        New York         NY           10004
         2.036   EEI Master Agreement                                             Unknown            J. ARON & COMPANY                                                    Attn: Commodity Operations                                85 Broad Street                                                                        New York         NY           10004
         2.037   Wholesale Power Contract                                         Unknown            J-A-C Electric Cooperative, Inc.                                                                                               1784 FM 172                                                                            Henrietta        TX           76365-7108
         2.038   ISDA Master Agreement                                            Unknown            JPMorgan Chase Bank                                                                                                            Collateral Middle Office Americas 3/OPS2         500 Stanton Christiana Road           Newark           DE           19713
         2.039   NAESB Master Agreement                                           Unknown            Koch Energy Services, LLC                                            ATTN: Legal Department - NAESBs                           4111 East 37th Street North                                                            Wichita          KS           67220

         2.040   Amended and Restated Power Purchase Agreement #1                   Unknown          Lapetus Energy Project, LLC c/o Duke Energy Renewables Solar, LLC Attention: Sybil Cioffi                                      550 South Caldwell Street, Suite 600                                                   Charlotte        NC           28202

         2.041   Amended and Restated Power Purchase Agreement #2                   Unknown          Lapetus Energy Project, LLC c/o Duke Energy Renewables Solar, LLC Attention: Sybil Cioffi                                      550 South Caldwell Street, Suite 600             DEC 4OA                               Charlotte        NC           28202

         2.042   Amended and Restated Power Purchase Agreement #3                   Unknown          Lapetus Energy Project, LLC c/o Duke Energy Renewables Solar, LLC    Attention: Sybil Cioffi                                   550 South Caldwell Street, Suite 600                                                   Charlotte        NC           28202
         2.043   EEI Master Agreement                                                 1553           Lower Colorado River Authority                                       Attn: Contract Administration                             3700 Lake Austin Boulevard, Mailstop L200                                              Austin           TX            78703
         2.044   NAESB Master Agreement                                            Cooken216         Macquarie Cook Energy, LLC                                           Attn: Contract Administration                             10100 Santa Monica Blvd , 18th floor                                                   Los Angeles      CA           90067
         2.045   NAESB Master Agreement                                             Unknown          Marabou Midstream Services, LP                                       Attn: Contract Administration                             450 Gears Road, Suite 850                                                              Houston          TX           77067-4506
         2.046   NAESB Master Agreement                                             Unknown          Mercuria Energy America, Inc.                                        Attn: Contract Administration                             20 East Greenway Plaza, Suite 650                                                      Houston          TX           77046
         2.047   ISDA Master Agreement                                              Unknown          Merrill Lynch Commodities, Inc                                                                                                 20 East Greenway Plaza                           7th floor                             Houston          TX           77253-3327
         2.048   Wholesale Power Contract                                           Unknown          Mid-South Electric Cooperative Association                                                                                     7625 Highway 6, P.O. Box 970                                                           Navasota         TX           77868
         2.049   EEI Master Agreement                                                 1363           Morgan Stanley Capital Group Inc                                     Attn: Deborah Hart                                        Commodities Department - 1st Floor               2000 Westchester Avenue               Purchase         NY           10577
         2.050   ISDA Master Agreement                                              Unknown          Morgan Stanley Capital Group Inc. c/o Morgan Stanley &Co.LLC         Attention: Close-out Notices                              1585 Broadway                                                                          New York         NY           10036-8293
         2.051   ISDA Master Agreement                                              Unknown          Munich Re Trading LLC                                                Attention: Vice President                                 Two Hughes Landing                               1790 Hughes Landing Blvd, Suite 275   The Woodlands    TX           77380
         2.052   NAESB Master Agreement                                             Unknown          National Energy & Trade, L.P.                                        Attn: Contract Administration                             5847 San Felipe St, Suite 1910                                                         Houston          TX           77057
         2.053   Wholesale Power Contract                                           Unknown          Navarro County Electric Cooperative, Inc.                                                                                      3800 W. Highway 22                                                                     Corsicana        TX           75110
         2.054   Wholesale Power Contract                                           Unknown          Navasota Valley Electric Cooperative, Inc.                                                                                     2281 E. US Hwy 79, P.O. Box 848                                                        Franklin         TX           77856
         2.055   NAESB Master Agreement                                             Unknown          NJR Energy Services Company                                          Attn: Contracts Deot.-Enerav Services                     1415 Wyckoff Road, PO Box 1464                                                         Wall             NJ           07719
         2.056   NAESB Master Agreement                                           Falcontm600        Nortex Trading and Marketing                                         Attn: Jeffrey H. Foutch                                   5847 San Felipe, Suite 3050                                                            Houston          TX           77057

         2.057   Participation Agreement                                            Unknown          Sandy Creek Energy Assoiates, L.P. c/o LS Power Development, LLC     Attn: Project Manager                                     Two Tower Center, 11th floor                                                           East Bruswick    NJ           08816

         2.058   Power Purchase Agreement                                           Unknown          Sandy Creek Energy Assoiates, L.P. c/o LS Power Development, LLC     Attn: Project Manager                                     Two Tower Center, 11th floor                                                           East Bruswick    NJ           08816
         2.059   NAESB Master Agreement                                             Unknown          Sequent Energy Management LP                                         Attn: Contract Administration                             1200 Smith St., Suite 900                                                              Houston          TX           77002
         2.060   EEI Master Agreement                                               Unknown          Shell Energy North America (US), L.P.                                Attn: Senior Contract Administrator~ Energy               909 Fannin, Suite 700                                                                  Houston          TX           77010
         2.061   ISDA Master Agreement                                              Unknown          Shell Trading Risk Management, LLC                                   Attention: General Counsel                                1000 Main St., Level 12                                                                Houston          TX           77002
         2.062   Wholesale Power Contract                                           Unknown          South Plains Electric Cooperative, Inc.                                                                                        4727 S. Loop 289, Ste. 200                                                             Lubbock          TX           79424
         2.063   Service Agreement                                                  Unknown          Southwest Power Pool                                                                                                           415 N. McKinley, 800 Plaza West                                                        Little Rock.     AR           72205
                 Service Agreement For Non-Firm Point-To-Point Transmission
         2.064   Service                                                            Unknown     Southwest Power Pool, lnc.                                                                                                          415 N. McKinley, 800 Plaza West                                                        Liftle Rock      AR           72205
         2.065   EEI Master Agreement                                               Unknown     Temple Generation I, LLC                                                  Attn: CEO                                                 9310 Diamante Dr                                                                       Magnolia         TX           77354
         2.066   EEI Agreement Guarantee                                            Unknown     Tenaska Energy, Inc./ Tenaska Energy Holdings, LLC                        Attention: Credit Department                              14302 FNB Parkway                                                                      Omaha            NE           68154
         2.067   NAESB Master Agreement                                            CT-022883    Tenaska Marketing Ventures                                                Attn: Supervisor, Contract Compliance                     11718 Nicholas Street                                                                  Omaha            NE           68154
         2.068   EEI Master Agreement                                            Tenaskaps1169  Tenaska Power Services Co.                                                Attn: Contract Administration                             1701 E. Lamar Boulevard, Suite l 00                                                    Arlington,       TX           76006
         2.069   NAESB Master Agreement                                             Unknown     TOTAL GAS & POWER NORTH AMERICA. INC.                                     Attn: Natural Gas Marketing                               800 Gessner St.. Suite 700.                                                            Houston          TX           77024
         2.070   Wholesale Power Contract                                           Unknown     Tri-County Electric Cooperative, Inc.                                                                                               600 N.W. Parkway                                                                       Azle             TX           76020-2916
                                                                                                United Electric Cooperative Services, Inc., dba United Cooperative
         2.071   Wholesale Power Contract                                          Unknown      Services                                                                                                                            2601 S. Burleson Blvd.                                                                 Burleson         TX           76028
                                                                                                United States Department of Energy Southwestern Power
         2.072   Power Sales Contract                                         DE-PM75-12SW00631 Administration                                                                                                                      One West Third Street                                                                  Tulsa            OK           74103-3519
         2.073   ISDA Master Agreement                                             Unknown      Wells Fargo Bank, NA.                                                                                                               45 Fremont Street, 30th Floor, MAC A0194-300                                           San Francisco    CA           94105
         2.074   Wholesale Power Contract                                          Unknown      Wise Electric Cooperative, Inc.                                                                                                     1900 N. Trinity St., P.O. Box 269                                                      Decatur          TX           76234




In re: Brazos Electric Power Cooperative, Inc.
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                                                                                                of 271
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  Fill in this information to identify the case:

  Debtor name: Brazos Electric Power Cooperative, Inc.

  United States Bankruptcy Court for the: Southern District of Texas
                                                                                                                                                                        Check if this is an
  Case number: 21-30725
                                                                                                                                                                        amended ling


O cial Form 206H
Schedule H: Codebtors
Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the Additional Page to this
page.

1. Does the debtor have any codebtors?

      No. Check this box and submit this form to the court with the debtor’s other schedules. Nothing else needs to be reported on this form.

      Yes

2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors, Schedules D-G. Include all
guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one
creditor, list each creditor separately in Column 2.

 Column 1: Codebtor                                                                                 Column 2: Creditor


 Name                              Mailing Address                                                  Name                                                              Check all schedules
                                                                                                                                                                      that apply:

2.1
                                                                                                                                                                           D

                                                                                                                                                                           E/F

                                                                                                                                                                           G
                          Case
                           Case21-30725
                                21-04407 Document
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                                                                                            27 of
                                                                                               of 271
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  Fill in this information to identify the case:

  Debtor name: Brazos Electric Power Cooperative, Inc.


  United States Bankruptcy Court for the: Southern District of Texas
                                                                                                                                                     Check if this is an
  Case number: 21-30725                                                                                                                       D      amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-lndividual Debtors

An individual who is authorized to act on behalf of a non-individuaf debtor, such as a corporation or partnership, must sign and submit this form for the schedules of
assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those documents. This form must
state the individual's position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1 008 and 9011.

WARNING -- Bankruptcy fraud Is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18U.S.C. gg 152,1341,1519, and 3571.


  I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual serving as a
  representative of the debtor in this case.


  I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


  {^ Schedule A/B: Assets-Real and Personal Property {OW\c\3\ Form 206A/B)

  ^ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 2060)

  0 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

  ^1 Schedule G: Executory Contracts and Unexpired Leases (Qfftcial Form 206G)

  i0 Schedule H: Codebtors (Official Form206H)

       Summary of Assets and Liabilities for Non-lndividuals (Off\cia\ Form 20f>Su{n)

       Amended Schedule

   i ! Chapter 1 f or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not insiders (Official Form 204)

       Other document that requires a

  declaration

i declare under penalty of perjury that the foregoing is true and correct.
                                                                                                )               -~)


03/31/2021                                                                                 KV. ^                r^.. \.
                                                                                                                                  ^
Executed on                                                                             Signature of Individual signing on behalf of debtor
                                                                                        Khaki Bordovsky

                                                                                        Printed name
                                                                                        Vice President" Services

                                                                                        Position or relationship to debtor
